        21-22108-shl             Doc 421      Filed 02/28/22 Entered 02/28/22 21:12:42                        Main Document
                                                           Pg 1 of 67


                                       UNITED STATES BANKRUPTCY COURT
                                                Southern DISTRICT OF New York



In Re. 96 Wythe Acquisition LLC                                     §                   Case No. 21-22108
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 01/31/2022                                                        Petition Date: 02/23/2021

Months Pending: 11                                                                        Industry Classification:    0   0   0   0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ David Goldwasser                                                         David Goldwasser
Signature of Responsible Party                                               Printed Name of Responsible Party
02/25/2022
                                                                             3284 N 29th Ct
Date
                                                                             Hollywood, FL 33020
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                         1
         21-22108-shl              Doc 421      Filed 02/28/22 Entered 02/28/22 21:12:42                Main Document
                                                             Pg 2 of 67
Debtor's Name 96 Wythe Acquisition LLC                                                             Case No. 21-22108


Part 1: Cash Receipts and Disbursements                                            Current Month            Cumulative

a.   Cash balance beginning of month                                                        $3,846,671
b.   Total receipts (net of transfers between accounts)                                     $1,339,227                   $0
c.   Total disbursements (net of transfers between accounts)                                $1,551,896                   $0
d.   Cash balance end of month (a+b-c)                                                      $3,634,002
e.   Disbursements made by third party for the benefit of the estate                                  $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                                $1,551,896                   $0
Part 2: Asset and Liability Status                                                 Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                $64,912
b.   Accounts receivable over 90 days outstanding (net of allowance)                                  $0
c.   Inventory       ( Book        Market      Other       (attach explanation))              $239,636
d    Total current assets                                                                   $4,025,777
e.   Total assets                                                                          $95,577,896
f.   Postpetition payables (excluding taxes)                                                $1,805,483
g.   Postpetition payables past due (excluding taxes)                                                 $0
h.   Postpetition taxes payable                                                               $371,508
i.   Postpetition taxes past due                                                                      $0
j.   Total postpetition debt (f+h)                                                          $2,176,991
k.   Prepetition secured debt                                                              $83,517,770
l.   Prepetition priority debt                                                                        $0
m. Prepetition unsecured debt                                                                         $0
n.   Total liabilities (debt) (j+k+l+m)                                                    $85,694,761
o.   Ending equity/net worth (e-n)                                                          $9,883,135

Part 3: Assets Sold or Transferred                                                 Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                               $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                          $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                         $0                 $0

Part 4: Income Statement (Statement of Operations)                                 Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                         $949,850
b.   Cost of goods sold (inclusive of depreciation, if applicable)                            $691,441
c.   Gross profit (a-b)                                                                       $258,409
d.   Selling expenses                                                                          $87,230
e.   General and administrative expenses                                                      $244,707
f.   Other expenses                                                                           $203,524
g.   Depreciation and/or amortization (not included in 4b)                                            $0
h.   Interest                                                                                       $0
i.   Taxes (local, state, and federal)                                                        $100,050
j.   Reorganization items                                                                             $0
k.   Profit (loss)                                                                           $ (377,102)                 $0


UST Form 11-MOR (12/01/2021)                                           2
        21-22108-shl           Doc 421          Filed 02/28/22 Entered 02/28/22 21:12:42                          Main Document
                                                             Pg 3 of 67
Debtor's Name 96 Wythe Acquisition LLC                                                                       Case No. 21-22108

Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                         Role
       i                                                                                   $0            $0                $0             $0
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi


UST Form 11-MOR (12/01/2021)                                                3
        21-22108-shl       Doc 421       Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                                      Pg 4 of 67
Debtor's Name 96 Wythe Acquisition LLC                                        Case No. 21-22108


       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
       xlix
       l
       li
       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
       lix
       lx
       lxi
       lxii
       lxiii
       lxiv
       lxv
       lxvi
       lxvii
       lxviii
       lxix
       lxx
       lxxi
       lxxii
       lxxiii
       lxxiv
       lxxv
       lxxvi
       lxxvii
       lxxvii

UST Form 11-MOR (12/01/2021)                           4
        21-22108-shl            Doc 421          Filed 02/28/22 Entered 02/28/22 21:12:42                         Main Document
                                                              Pg 5 of 67
Debtor's Name 96 Wythe Acquisition LLC                                                                       Case No. 21-22108


       lxxix
       lxxx
       lxxxi
       lxxxii
       lxxxii
       lxxxiv
       lxxxv
       lxxxvi
       lxxxvi
       lxxxvi
       lxxxix
       xc
       xci
       xcii
       xciii
       xciv
       xcv
       xcvi
       xcvii
       xcviii
       xcix
       c
       ci

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
b.      Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0            $0                $0             $0
        Itemized Breakdown by Firm
                Firm Name                         Role
        i                                                                                  $0            $0                $0             $0
        ii
        iii
        iv
        v
        vi
        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv


UST Form 11-MOR (12/01/2021)                                              5
        21-22108-shl       Doc 421       Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                                      Pg 6 of 67
Debtor's Name 96 Wythe Acquisition LLC                                        Case No. 21-22108


        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
        xxiv
        xxv
        xxvi
        xxvii
        xxviii
        xxix
        xxx
        xxxi
        xxxii
        xxxiii
        xxxiv
        xxxv
        xxxvi
        xxxvii
        xxxvii
        xxxix
        xl
        xli
        xlii
        xliii
        xliv
        xlv
        xlvi
        xlvii
        xlviii
        xlix
        l
        li
        lii
        liii
        liv
        lv
        lvi

UST Form 11-MOR (12/01/2021)                           6
        21-22108-shl       Doc 421       Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                                      Pg 7 of 67
Debtor's Name 96 Wythe Acquisition LLC                                        Case No. 21-22108


        lvii
        lviii
        lix
        lx
        lxi
        lxii
        lxiii
        lxiv
        lxv
        lxvi
        lxvii
        lxviii
        lxix
        lxx
        lxxi
        lxxii
        lxxiii
        lxxiv
        lxxv
        lxxvi
        lxxvii
        lxxvii
        lxxix
        lxxx
        lxxxi
        lxxxii
        lxxxii
        lxxxiv
        lxxxv
        lxxxvi
        lxxxvi
        lxxxvi
        lxxxix
        xc
        xci
        xcii
        xciii
        xciv
        xcv
        xcvi
        xcvii
        xcviii

UST Form 11-MOR (12/01/2021)                           7
         21-22108-shl           Doc 421          Filed 02/28/22 Entered 02/28/22 21:12:42            Main Document
                                                              Pg 8 of 67
Debtor's Name 96 Wythe Acquisition LLC                                                        Case No. 21-22108


         xcix
         c
c.       All professional fees and expenses (debtor & committees)             $0              $0               $0               $0




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                          8
            21-22108-shl           Doc 421         Filed 02/28/22 Entered 02/28/22 21:12:42                          Main Document
                                                                Pg 9 of 67
Debtor's Name 96 Wythe Acquisition LLC                                                                        Case No. 21-22108

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ David Goldwasser                                                            David Goldwasser
Signature of Responsible Party                                                  Printed Name of Responsible Party

Manager                                                                         02/25/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
        21-22108-shl       Doc 421       Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                                     Pg 10 of 67
Debtor's Name 96 Wythe Acquisition LLC                                        Case No. 21-22108




UST Form 11-MOR (12/01/2021)                           10
        21-22108-shl       Doc 421       Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                                     Pg 11 of 67
Debtor's Name 96 Wythe Acquisition LLC                                        Case No. 21-22108




UST Form 11-MOR (12/01/2021)                           11
        21-22108-shl       Doc 421       Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                                     Pg 12 of 67
Debtor's Name 96 Wythe Acquisition LLC                                        Case No. 21-22108




UST Form 11-MOR (12/01/2021)                           12
     21-22108-shl                              Doc 421                   Filed 02/28/22 Entered 02/28/22 21:12:42                                                          Main Document
                                                                                     Pg 13 of 67

In re 96 Wythe Acquisition LLC                                                                                            Case No. 21-22108-rdd
      Debtor                                                                                                     Reporting Period: 1/01/2022-1/31/2022

     SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the fhree bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]


                                                                                                                                                                                           CURRENT MONTH
     ACCOUNT NUMBER (LAST 4)                                         DIP 0935        DIP 0927                     TWH BK 1596                       TWH BK 1603            TWH BK 1611   ACTUAL (TOTAL OF ALL
                                                                                                                                                                                             ACCOUNTS)

     CASH BEGINNING OF MONTH        $1,565,670.75                                  $1,738,803.02                           $96,172.81                        $6,336.49     $439,687.57        $3,846,670.64
     RECEIPTS
     CASH SALES                     $1,339,226.62                                                                                                                                             $1,339,226.62
     ACCOUNTS RECEIVABLE - PREPETITION
     ACCOUNTS RECEIVABLE - POSTPETITION
     LOANS AND ADVANCES
     SALE OF ASSETS
     OTHER (ATTACH LIST)                                                                                                                                         $0.00                                $0.00
     TRANSFERS (FROM DIP ACCTS)                                                                                           $505,282.32                      $732,683.21     $215,946.74        $1,453,912.27
       TOTAL RECEIPTS               $1,339,226.62                                             $0.00                       $505,282.32                      $732,683.21     $215,946.74        $2,793,138.89
     DISBURSEMENTS
     NET PAYROLL                                                                                                                                           $732,279.37                          $732,279.37
     PAYROLL TAXES                                                                                                                                                                                    $0.00
     SALES, USE, & OTHER TAXES                                                                                                                                             $146,338.00          $146,338.00
     INVENTORY PURCHASES
     SECURED/ RENTAL/ LEASES
     INSURANCE
     ADMINISTRATIVE                                                                                                                                                                                    $0.00
     SELLING
     OTHER (ATTACH LIST)             $109,531.20                                              $0.00                       $543,717.10                             $30.00                        $653,278.30
     OWNER DRAW *
     TRANSFERS (TO DIP ACCTS)       $1,453,912.27                                                                                                                                             $1,453,912.27
     PROFESSIONAL FEES                 $20,000.00
     U.S. TRUSTEE QUARTERLY FEES
     COURT COSTS
     TOTAL DISBURSEMENTS            $1,583,443.47                                             $0.00                       $543,717.10                      $732,309.37     $146,338.00        $2,985,807.94
                                                                                                                                                                                                      $0.00
     NET CASH FLOW                                                 -$244,216.85               $0.00                       -$38,434.78                         $373.84       $69,608.74         -$212,669.05
     (RECEIPTS LESS DISBURSEMENTS)

     CASH – END OF MONTH                                           $1,321,453.90   $1,738,803.02                           $57,738.03                        $6,710.33     $509,296.31        $3,634,001.59
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE
     ** Account discontinued use for debtor activity in May 2021


     THE FOLLOWING SECTION MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS                                              2,985,808
       LESS: TRANSFERS TO OTHER                                      (1,453,912)
     DEBTOR IN POSSESSION
       PLUS: ESTATE
     DISBURSEMENTS MADE BY
     TOTAL DISBURSEMENTS FOR                                          1,531,896
     CALCULATING U.S. TRUSTEE
4:48 PM
                      21-22108-shl                        Doc 421             Filed 02/28/22 Entered 02/28/22 21:12:42                                            Main Document
                                                                                        The Williamsburg Hotel
02/10/22                                                                                  Pg 14 of 67
                                                                                        Reconciliation Detail
                                                                           1103100 · TD DIP Operating Account...0935, Period Ending 01/31/2022
                                 Type              Date              Num                             Name                                 Description              Clr   Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 45 items
                         Bill Pmt -Check         01/03/2022   ACH              FISERV MERCHANT SERVICES 8889 ROOMS          A&G - CC Processing Fees                     -38,902.66
                         Bill Pmt -Check         01/03/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B           A&G - CC Processing Fees                       -7,653.30
                         Bill Pmt -Check         01/03/2022   ACH              FISERV MERCHANT SERVICES 8889 ROOMS          A&G - CC Processing Fees                      -3,698.87
                         Bill Pmt -Check         01/03/2022   ACH              FISERV MERCHANT SERVICES 8889 ROOMS          A&G - CC Processing Fees                      -2,738.80
                         Bill Pmt -Check         01/03/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B           A&G - CC Processing Fees                         -850.93
                         Bill Pmt -Check         01/03/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B           A&G - CC Processing Fees                         -605.33
                         Check                   01/03/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B        A&G - Bad Debt Expense                            -75.00
                         Check                   01/03/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B            A&G - CC Processing Fees                          -0.17
                         Bill Pmt -Check         01/05/2022   Wire             Leitner Berman Inc.                          A&G - Professional Fees (Appraisal)          -20,000.00
                         Check                   01/05/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B        A&G - Bad Debt Expense                            -34.84
                         Check                   01/05/2022   ACH              TD Bank 0935                                 A&G - Bank Charges                               -30.00
                         Check                   01/07/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B            A&G - CC Processing Fees                          -3.81
                         Check                   01/10/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                           -672.72
                         Check                   01/12/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B        A&G - Bad Debt Expense                            -80.60
                         Check                   01/13/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                           -146.99
                         Check                   01/13/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B        A&G - Bad Debt Expense                           -121.25
                         Check                   01/18/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                         -1,547.84
                         Check                   01/18/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                            -38.11
                         Check                   01/18/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B        A&G - Bad Debt Expense                            -20.60
                         Check                   01/19/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                         -1,389.39
                         Bill Pmt -Check         01/20/2022   ACH              U.S. Trustee                                 US Trustee Quarterly Fees                    -48,494.00
                         Check                   01/21/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                           -857.72
                         Check                   01/24/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B            A&G - CC Processing Fees                          -0.31
                         Check                   01/26/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                           -597.04
                         Check                   01/28/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B            A&G - CC Processing Fees                          -0.42
                         Check                   01/31/2022   ACH              FISERV MERCHANT CHARGEBACKS 8889 Rooms      A&G - Bad Debt Expense                           -907.15
                         Check                   01/31/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B        A&G - Bad Debt Expense                            -63.35
               Total Checks and Payments                                                                                                                                 -129,531.20
               Deposits and Credits - 61 items
                         General Journal         12/29/2021   DR 12-29-21      Daily Revenue                                Credit Card Receipts - F&B                     7,870.92
                         General Journal         12/29/2021   DR 12-29-21      Daily Revenue                                Credit Card Receipts - Rooms                 49,288.34
                         General Journal         12/30/2021   DR 12-30-21      Daily Revenue                                Credit Card Receipts - F&B                      144.31
                         General Journal         12/30/2021   DR 12-30-21      Daily Revenue                                Credit Card Receipts - Rooms                 32,037.66
                         General Journal         12/31/2021   DR 12-31-21      Daily Revenue                                Credit Card Receipts - Rooms                 41,082.95
                         General Journal         01/01/2022   DR 01-01-22      Daily Revenue                                Credit Card Receipts - Rooms                 46,666.48
                         General Journal         01/02/2022   DR 01-02-22      Daily Revenue                                Credit Card Receipts - Rooms                 46,970.65
                         General Journal         01/03/2022   DR 01-03-22      Daily Revenue                                Credit Card Receipts - Rooms                 38,681.49
                         General Journal         01/03/2022   DR 01-03-22      Daily Revenue                                Credit Card Receipts - F&B                   62,836.16
                         General Journal         01/04/2022   DR 01-04-22      Daily Revenue                                Credit Card Receipts - F&B                     2,972.61
                         General Journal         01/04/2022   DR 01-04-22      Daily Revenue                                Credit Card Receipts - Rooms                 23,542.67
                         General Journal         01/05/2022   DR 01-05-22      Daily Revenue                                Credit Card Receipts - F&B                     3,583.22
                         General Journal         01/05/2022   DR 01-05-22      Daily Revenue                                Credit Card Receipts - Rooms                 18,979.35
                         General Journal         01/06/2022   DR 01-06-22      Daily Revenue                                Credit Card Receipts - F&B                     4,506.12
                         General Journal         01/06/2022   DR 01-06-22      Daily Revenue                                Credit Card Receipts - Rooms                 11,468.19
                         General Journal         01/07/2022   DR 01-07-22      Daily Revenue                                Credit Card Receipts - F&B                     7,419.31
                         General Journal         01/07/2022   DR 01-07-22      Daily Revenue                                Credit Card Receipts - Rooms                 25,218.60
                         General Journal         01/08/2022   DR 01-08-22      Daily Revenue                                Credit Card Receipts - F&B                   15,212.22
                         General Journal         01/08/2022   DR 01-08-22      Daily Revenue                                Credit Card Receipts - Rooms                 25,187.15
                         General Journal         01/09/2022   DR 01-09-22      Daily Revenue                                Credit Card Receipts - F&B                     6,898.51
                         General Journal         01/09/2022   DR 01-09-22      Daily Revenue                                Credit Card Receipts - Rooms                 42,167.08
                         General Journal         01/10/2022   DR 01-10-22      Daily Revenue                                Credit Card Receipts - F&B                     3,107.21
                         General Journal         01/10/2022   DR 01-10-22      Daily Revenue                                Credit Card Receipts - Rooms                 48,426.10
                         General Journal         01/11/2022   DR 01-11-22      Daily Revenue                                Credit Card Receipts - F&B                     3,130.70
                         General Journal         01/11/2022   DR 01-11-22      Daily Revenue                                Credit Card Receipts - Rooms                 17,504.09
                         General Journal         01/12/2022   DR 01-12-22      Daily Revenue                                Credit Card Receipts - F&B                     2,965.61
                         General Journal         01/12/2022   DR 01-12-22      Daily Revenue                                Credit Card Receipts - Rooms                 27,339.47
                         General Journal         01/13/2022   DR 01-13-22      Daily Revenue                                Credit Card Receipts - F&B                     7,693.74
                         General Journal         01/13/2022   DR 01-13-22      Daily Revenue                                Credit Card Receipts - Rooms                 22,556.87
                         General Journal         01/14/2022   WIRE011422                                                    Wire Receipt - F&B                           14,000.00
                         General Journal         01/14/2022   DR 01-14-22      Daily Revenue                                Credit Card Receipts - F&B                   15,293.60
                         General Journal         01/14/2022   DR 01-14-22      Daily Revenue                                Credit Card Receipts - Rooms                 40,629.23
                         General Journal         01/15/2022   DR 01-15-22      Daily Revenue                                Credit Card Receipts - F&B                   17,626.52
                         General Journal         01/15/2022   DR 01-15-22      Daily Revenue                                Credit Card Receipts - Rooms                 23,827.60
                         General Journal         01/16/2022   DR 01-16-22      Daily Revenue                                Credit Card Receipts - F&B                   10,519.08
                         General Journal         01/16/2022   DR 01-16-22      Daily Revenue                                Credit Card Receipts - Rooms                 45,612.77
                         General Journal         01/17/2022   DR 01-17-22      Daily Revenue                                Credit Card Receipts - F&B                     6,738.62
                         General Journal         01/17/2022   DR 01-17-22      Daily Revenue                                Credit Card Receipts - Rooms                 43,128.56




                                                                                                                                                                                       Page 1 of 2
4:48 PM
                       21-22108-shl                  Doc 421           Filed 02/28/22 Entered 02/28/22 21:12:42                                              Main Document
                                                                                 The Williamsburg Hotel
02/10/22                                                                           Pg 15 of 67
                                                                                 Reconciliation Detail
                                                                   1103100 · TD DIP Operating Account...0935, Period Ending 01/31/2022
                                Type          Date           Num                          Name                                     Description                Clr    Amount

                          General Journal   01/18/2022   DR 01-18-22   Daily Revenue                                Credit Card Receipts - F&B                         3,469.51
                          General Journal   01/18/2022   DR 01-18-22   Daily Revenue                                Credit Card Receipts - Rooms                     40,979.55
                          General Journal   01/19/2022   DR 01-19-22   Daily Revenue                                Credit Card Receipts - F&B                         4,808.65
                          General Journal   01/19/2022   DR 01-19-22   Daily Revenue                                Credit Card Receipts - Rooms                     18,490.38
                          General Journal   01/20/2022   DR 01-20-22   Daily Revenue                                Credit Card Receipts - F&B                         7,197.37
                          General Journal   01/20/2022   DR 01-20-22   Daily Revenue                                Credit Card Receipts - Rooms                     38,689.93
                          General Journal   01/21/2022   DR 01-21-22   Daily Revenue                                Credit Card Receipts - F&B                       13,265.22
                          General Journal   01/21/2022   DR 01-21-22   Daily Revenue                                Credit Card Receipts - Rooms                     39,390.78
                          General Journal   01/22/2022   DR 01-22-22   Daily Revenue                                Credit Card Receipts - F&B                       19,679.66
                          General Journal   01/22/2022   DR 01-22-22   Daily Revenue                                Credit Card Receipts - Rooms                     38,669.34
                          General Journal   01/23/2022   DR 01-23-22   Daily Revenue                                Credit Card Receipts - F&B                         9,071.55
                          General Journal   01/23/2022   DR 01-23-22   Daily Revenue                                Credit Card Receipts - Rooms                     53,579.15
                          General Journal   01/24/2022   Puls14        Pulsd Inc.                                   Direct Deposit Receipts - F&B (Puls'd)              991.20
                          General Journal   01/24/2022   DR 01-24-22   Daily Revenue                                Credit Card Receipts - F&B                         3,822.80
                          General Journal   01/24/2022   DR 01-24-22   Daily Revenue                                Credit Card Receipts - Rooms                     27,809.92
                          General Journal   01/25/2022   DR 01-25-22   Daily Revenue                                Credit Card Receipts - F&B                         4,719.93
                          General Journal   01/25/2022   DR 01-25-22   Daily Revenue                                Credit Card Receipts - Rooms                     45,599.15
                          General Journal   01/26/2022   DR 01-26-22   Daily Revenue                                Credit Card Receipts - F&B                         4,690.46
                          General Journal   01/26/2022   DR 01-26-22   Daily Revenue                                Credit Card Receipts - Rooms                     18,526.06
                          General Journal   01/27/2022   DR 01-27-22   Daily Revenue                                Credit Card Receipts - F&B                         7,072.59
                          General Journal   01/27/2022   DR 01-27-22   Daily Revenue                                Credit Card Receipts - Rooms                     31,481.09
                          General Journal   01/28/2022   DR 01-28-22   Daily Revenue                                Credit Card Receipts - F&B                       10,667.75
                          General Journal   01/28/2022   DR 01-28-22   Daily Revenue                                Credit Card Receipts - Rooms                     33,720.40
               Total Deposits and Credits                                                                                                                           1,339,226.20
           Total Cleared Transactions                                                                                                                               1,209,695.00




                                                                                                                                                                                   Page 2 of 2
4:49 PM             21-22108-shl     Doc 421     Filed The
                                                       02/28/22  Entered Hotel
                                                           Williamsburg  02/28/22 21:12:42        Main Document
02/10/22
                                                             Pg 16 of 67
                                                      Reconciliation Detail
                                   1103110 · TD DIP Secondary Account...0927, Period Ending 01/31/2022
                          Type      Date   Num     Name     Clr    Amount      Balance

Beginning Balance                                                             1,738,803.02
Cleared Balance                                                               1,738,803.02




                                                                                                                  Page 1 of 1
4:12 PM
                    21-22108-shl                    Doc 421             Filed 02/28/22 Entered 02/28/22 21:12:42                                           Main Document
                                                                                 The Williamsburg Hotel
02/14/22                                                                            Pg 17 of 67
                                                                                          Reconciliation Detail
                                                               1103500 · TD Mgmt Main Account...1596, Period Ending 01/31/2022
                         Type            Date        Num                           Name                                         Description                   Clr   Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 262 items
                    Bill Pmt -Check    09/30/2021    1944   Dr Shade Design Inc                         POM - Painting & Wallcovering                              -4,173.18
                    Bill Pmt -Check    09/30/2021    1953   Macnair Sillick                             F&B - Operating Supplies (Expense Reimbursement)              -44.00
                    Bill Pmt -Check    10/14/2021    2015   Mr & Mrs Smith                              Rooms - Travel Agent Commissions                             -354.83
                    Bill Pmt -Check    10/15/2021    2044   Blondr                                      Rooms - Travel Agent Commissions                             -310.80
                    Bill Pmt -Check    10/26/2021    2543   Local Roots NYC LLC                         F&B - Food                                                   -444.25
                    Bill Pmt -Check    10/26/2021    2547   Bellocq, LLC                                F&B - N/A Beverage                                           -439.00
                    Bill Pmt -Check    11/12/2021    2709   Matthew Egbert                              F&B - Music & Entertainment                                  -350.00
                    Bill Pmt -Check    11/15/2021    2726   JC & JC Cleaners Inc. (The Dry Cleaner)     Rooms - Linen & Uniform Laundry                            -6,899.35
                    Bill Pmt -Check    11/15/2021    2930   Bole Road Textiles                          F&B - Operating Supplies                                   -2,808.00
                    Bill Pmt -Check    11/19/2021    2935   Emett Controls Inc.                         ITS - System Expenses                                      -3,478.56
                    Bill Pmt -Check    11/30/2021    2931   Vault Furniture Inc.                        POM - Operating Supplies                                   -2,310.00
                    Bill Pmt -Check    12/01/2021    2831   Chandni Malik                               F&B - Music & Entertainment                                  -200.00
                    Bill Pmt -Check    12/03/2021    2870   Charter Linen & Laundry Service -Next Gen   Rooms - Linen Laundry                                      -3,583.16
                    Bill Pmt -Check    12/03/2021    2874   D'Artagnan                                  F&B - Food                                                 -1,390.43
                    Bill Pmt -Check    12/03/2021    2875   Local Roots NYC LLC                         F&B - Food                                                 -1,332.75
                    Bill Pmt -Check    12/03/2021    2876   Sogno Toscano Tuscan Dream                  F&B - Food                                                 -1,236.96
                    Bill Pmt -Check    12/03/2021    2869   RMAC Supplies Co.                           Rooms - Cleaning Supplies                                  -1,195.08
                    Bill Pmt -Check    12/03/2021    2887   The Regency Group                           S&M - Collateral Material                                  -1,163.67
                    Bill Pmt -Check    12/03/2021    2851   Ella Darr                                   F&B - Music & Entertainment                                -1,100.00
                    Bill Pmt -Check    12/03/2021    2879   Arctic Glacier - Icesurance                 F&B - Equipment Rental (Ice Machine)                         -955.92
                    Bill Pmt -Check    12/03/2021    2888   Merv Filters LLC                            POM - Engineering Supplies                                   -806.00
                    Bill Pmt -Check    12/03/2021    2852   White Plains Linen                          F&B - Linen Laundry                                          -771.24
                    Bill Pmt -Check    12/03/2021    2871   LM Media Worldwide, LLC.                    Rooms - Travel Agent Commissions                             -666.00
                    Bill Pmt -Check    12/03/2021    2877   AUTOTAP Corporation                         F&B - N/A Beverage                                           -544.38
                    Bill Pmt -Check    12/03/2021    2880   Balter Sales Co.                            F&B - Glassware & Supplies                                   -484.25
                    Bill Pmt -Check    12/03/2021    2885   Kelvin Nunez                                F&B - Music & Entertainment                                  -400.00
                    Bill Pmt -Check    12/03/2021    2883   Dayna Canning                               F&B - Music & Entertainment                                  -150.00
                    Bill Pmt -Check    12/03/2021    2872   Market Square Travel                        Rooms - Travel Agent Commissions                              -45.00
                    Bill Pmt -Check    12/17/2021    2904   Karine Kochariani                           F&B - Contract Labor                                         -976.88
                    Bill Pmt -Check    12/17/2021    2911   Alexandra Ivanova                           F&B - Music & Entertainment                                  -700.00
                    Bill Pmt -Check    12/17/2021    2910   Josmil Antonio Caraballo De Leon            F&B - Music & Entertainment                                  -700.00
                    Bill Pmt -Check    12/17/2021    2908   Vault Furniture Inc.                        POM - Operating Supplies                                     -535.00
                    Bill Pmt -Check    12/17/2021    2901   Brouqueline, LLC                            F&B - Marketing & Promotion                                  -400.00
                    Bill Pmt -Check    12/19/2021    2927   Cristian Ramirez                            F&B - Contract Labor (Doorman)                               -420.00
                    Bill Pmt -Check    12/23/2021    2922   Nassau Candy Distributors Inc.              F&B - Minibar Food                                         -1,063.65
                    Bill Pmt -Check    12/23/2021    2920   Fall Family LLC                             POM - Contract Labor (Elevator Attendant)                    -664.00
                    Bill Pmt -Check    12/23/2021    2923   Kristiana Roemer                            F&B - Music & Entertainment                                  -450.00
                    Bill Pmt -Check    12/23/2021    2925   Brouqueline, LLC                            F&B - Marketing & Promotion                                  -400.00
                    Bill Pmt -Check    12/23/2021    2921   Sabeel Chohan                               F&B - Music & Entertainment                                  -200.00
                    Bill Pmt -Check    12/24/2021    2915   White Plains Linen                          F&B - Linen Laundry                                        -2,534.46
                    Bill Pmt -Check    12/24/2021    2919   Karine Kochariani                           F&B - Contract Labor                                         -494.25
                    Bill Pmt -Check    12/27/2021    2933   JULIO CESAR ALCANTARA                       F&B - Employee Net Pay                                       -396.02
                    Bill Pmt -Check    12/29/2021    2948   Mann Sales LLC                              S&M - Promotion                                            -8,000.00
                    Bill Pmt -Check    12/29/2021    2944   Ford & Harrison LLP                         A&G - Legal                                                -5,087.00
                    Bill Pmt -Check    12/29/2021    2966   Metro Electrical Contractors, Inc.          POM - Electric Repair                                      -5,000.00
                    Bill Pmt -Check    12/29/2021    2943   Royal Waste Services                        POM - Waste Removal                                        -4,697.96
                    Bill Pmt -Check    12/29/2021    2961   RMAC Supplies Co.                           Rooms - Cleaning Supplies                                  -4,427.85
                    Bill Pmt -Check    12/29/2021    2947   Fredrickson Studios                         S&M - Photography                                          -3,425.00
                    Bill Pmt -Check    12/29/2021    2959   I. Halper                                   F&B - Supplies                                             -3,167.19
                    Bill Pmt -Check    12/29/2021    2945   Allbridge (DCI-Design)                      ITS - Telecommunications                                   -2,966.17
                    Bill Pmt -Check    12/29/2021    2950   D'Artagnan                                  F&B - Food                                                 -2,731.17
                    Bill Pmt -Check    12/29/2021    2958   Balter Sales Co.                            F&B - Glassware & Supplies                                 -2,525.23
                    Bill Pmt -Check    12/29/2021    2956   Coffee of Grace                             F&B - N/A Beverage                                         -1,825.00
                    Bill Pmt -Check    12/29/2021    2965   Krinsky Design                              S&M - Photography                                          -1,800.00
                    Bill Pmt -Check    12/29/2021    2960   Moviebeam                                   Rooms - Cable Television                                   -1,383.28
                    Bill Pmt -Check    12/29/2021    2938   Amadeus Hospitality Americas, Inc           ITS - System Expenses                                      -1,281.17
                    Bill Pmt -Check    12/29/2021    2939   IDEAS                                       ITS - Room Revenue Software                                -1,200.00
                    Bill Pmt -Check    12/29/2021    2951   Coffee of Grace                             F&B - N/A Beverage                                         -1,125.00
                    Bill Pmt -Check    12/29/2021    2940   1Concier (Harbor Linen)                     Rooms - Linen Cost                                         -1,106.24
                    Bill Pmt -Check    12/29/2021    2952   GdeP Inc.                                   F&B - Food                                                 -1,099.00
                    Bill Pmt -Check    12/29/2021    2954   Sogno Toscano Tuscan Dream                  F&B - Food                                                 -1,074.98
                    Bill Pmt -Check    12/29/2021    2968   Aurora Hardware and Locksmith               POM - Engineering Supplies                                 -1,004.23
                    Bill Pmt -Check    12/29/2021    2937   City Marshal Henry Daley                    A&G - FDNY Fees                                            -1,000.00
                    Bill Pmt -Check    12/29/2021    2942   Arctic Glacier - Icesurance                 F&B - Equipment Rental (Ice Machine)                         -955.92




                                                                                                                                                                                Page 1 of 5
4:12 PM
           21-22108-shl                   Doc 421             Filed 02/28/22 Entered 02/28/22 21:12:42                                            Main Document
                                                                       The Williamsburg Hotel
02/14/22                                                                  Pg 18 of 67
                                                                                Reconciliation Detail
                                                     1103500 · TD Mgmt Main Account...1596, Period Ending 01/31/2022
                Type           Date        Num                          Name                                          Description                    Clr   Amount

           Bill Pmt -Check   12/29/2021    2962   Front Desk Supply                           Rooms - Guest Supplies                                        -904.68
           Bill Pmt -Check   12/29/2021    2953   Local Roots NYC LLC                         F&B - Food                                                    -888.50
           Bill Pmt -Check   12/29/2021    2946   Fivepals, Inc.                              ITS - POM System Expenses                                     -871.00
           Bill Pmt -Check   12/29/2021    2969   ScentAir Technologies                       POM - Engineering Supplies                                    -646.72
           Bill Pmt -Check   12/29/2021    2963   Guest Supply, LLC                           POM - Engineering Supplies                                    -598.43
           Bill Pmt -Check   12/29/2021    2955   Blue Moon Acres                             F&B - Food                                                    -547.55
           Bill Pmt -Check   12/29/2021    2971   Todd Harris Co, Inc                         POM - Pool Supplies                                           -353.84
           Bill Pmt -Check   12/29/2021    2970   ULINE                                       Rooms - Operating Supplies                                    -272.92
           Bill Pmt -Check   12/29/2021    2941   Dow Jones & Co.                             Rooms - Guest Amenities                                       -150.00
           Bill Pmt -Check   12/29/2021    2964   New York Post                               Rooms - Guest Amenities                                         -36.40
           Bill Pmt -Check   12/30/2021    2984   Rifka Buls                                  S&M - Contract Labor                                         -3,000.00
           Bill Pmt -Check   12/30/2021    2985   White Plains Linen                          F&B - Linen Laundry                                          -2,477.86
           Bill Pmt -Check   12/30/2021    2976   Alexandra Ivanova                           F&B - Music & Entertainment                                  -2,170.00
           Bill Pmt -Check   12/30/2021    2977   Josmil Antonio Caraballo De Leon            F&B - Music & Entertainment                                  -2,170.00
           Bill Pmt -Check   12/30/2021    2974   Karine Kochariani                           F&B - Contract Labor                                         -1,937.98
           Bill Pmt -Check   12/30/2021    2983   Big Blue Beer Distributor                   Bounced Check Reissued                                       -1,610.37
           Bill Pmt -Check   12/30/2021    2975   Fall Family LLC                             POM - Contract Labor (Elevator Attendant)                     -548.80
           Bill Pmt -Check   12/30/2021    2981   Nick Biello                                 F&B - Music & Entertainment                                   -520.00
           Bill Pmt -Check   12/30/2021    2980   Need to Know Nightlife (Joseph Greiner)     F&B - Music & Entertainment                                   -500.00
           Bill Pmt -Check   12/30/2021    2978   Kristiana Roemer                            F&B - Music & Entertainment                                   -450.00
           Bill Pmt -Check   12/30/2021    2982   Robert Aloia                                F&B - Music & Entertainment                                   -400.00
           Bill Pmt -Check   12/30/2021    2979   Brouqueline, LLC                            F&B - Marketing & Promotion                                   -400.00
           Bill Pmt -Check   12/30/2021    2972   Rhenalt                                     F&B - Music & Entertainment                                   -350.00
           Bill Pmt -Check   12/31/2021    2936   Alboro National                             F&B - Contract Services (Security)                           -6,256.10
           Bill Pmt -Check   12/31/2021    3003   Jonathan Tsirlin                            F&B - Operating Supplies (Expense Reimbursement)              -110.00
           Bill Pmt -Check   01/01/2022    3125   Brian Thabault                              F&B - Music & Entertainment                                   -450.00
           Bill Pmt -Check   01/03/2022    ACH    NYSIF-DBL                                   Disability Insurance                                         -2,606.69
           Bill Pmt -Check   01/03/2022    2986   The Social Secretary LLC                    S&M - Contract Labor                                         -1,500.00
           Bill Pmt -Check   01/03/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies            -1,460.32
           Check             01/03/2022    ACH    Ascentium Capital                           Rooms - Cable Television                                     -1,249.32
           Bill Pmt -Check   01/03/2022    ACH    Elavon                                      A&G - CC Processing Fees                                      -300.32
           Bill Pmt -Check   01/03/2022    ACH    Health Plus (Empire BCBS)                   Employee Health Insurance Monthly                             -281.37
           Bill Pmt -Check   01/04/2022    ACH    Southern Glazer's of NY Metro               F&B - Alcohol                                               -33,725.34
           Bill Pmt -Check   01/04/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies            -3,044.73
           Bill Pmt -Check   01/04/2022    ACH    Empire Blue Cross Blue Shield               Employee Health Insurance Monthly                            -1,968.26
           Bill Pmt -Check   01/04/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies            -1,571.60
           Bill Pmt -Check   01/05/2022    3008   TravelClick                                 Rooms - Reservations Services / S&M - Media                 -17,045.82
           Bill Pmt -Check   01/05/2022    3016   Value Service                               POM - HVAC Repair                                            -4,658.77
           Bill Pmt -Check   01/05/2022    2992   D'Artagnan                                  F&B - Food                                                   -4,331.23
           Bill Pmt -Check   01/05/2022    3009   Mann Sales LLC                              S&M - Promotion                                              -4,000.00
           Bill Pmt -Check   01/05/2022    2988   Charter Linen & Laundry Service -Next Gen   Rooms - Linen Laundry                                        -3,872.92
           Bill Pmt -Check   01/05/2022    3021   Promotion Depot                             A&G - Operating Supplies                                     -3,133.85
           Bill Pmt -Check   01/05/2022    2987   RMAC Supplies Co.                           Rooms - Cleaning Supplies                                    -3,033.37
           Bill Pmt -Check   01/05/2022    3002   Screening One                               A&G - Human Resources                                        -2,981.00
           Bill Pmt -Check   01/05/2022    3012   Protek                                      POM - Kitchen Equipment Repairs & Maintenance                -2,969.20
           Bill Pmt -Check   01/05/2022    3014   Lemofet Glass Inc.                          POM - Operating Supplies                                     -2,700.00
           Bill Pmt -Check   01/05/2022    3010   The Regency Group                           S&M - Collateral Material                                    -2,361.93
           Bill Pmt -Check   01/05/2022    3011   Champion Elevator Corp.                     POM - Elevator Services                                      -2,361.69
           Bill Pmt -Check   01/05/2022    3005   Allbridge (DCI-Design)                      ITS - Telecommunications                                     -1,449.42
           Bill Pmt -Check   01/05/2022    3001   I. Halper                                   F&B - Supplies                                               -1,443.60
           Bill Pmt -Check   01/05/2022    3000   Balter Sales Co.                            F&B - Glassware & Supplies                                   -1,430.92
           Bill Pmt -Check   01/05/2022    3007   Oracle America Inc.                         ITS - A&G System Expenses                                    -1,274.77
           Bill Pmt -Check   01/05/2022    2995   Coffee of Grace                             F&B - N/A Beverage                                           -1,225.37
           Bill Pmt -Check   01/05/2022    3006   Emett Controls Inc.                         ITS - System Expenses                                        -1,047.92
           Bill Pmt -Check   01/05/2022    2993   GdeP Inc.                                   F&B - Food                                                   -1,040.00
           Bill Pmt -Check   01/05/2022    2994   Sogno Toscano Tuscan Dream                  F&B - Food                                                    -927.52
           Bill Pmt -Check   01/05/2022    3018   Advanced Flameproofing Corp.                POM - Life/Safety                                             -903.23
           Bill Pmt -Check   01/05/2022    3023   Florieselva Zambrana                        Rooms - Contract Labor                                        -900.00
           Bill Pmt -Check   01/05/2022    3020   Merv Filters LLC                            POM - Engineering Supplies                                    -841.00
           Bill Pmt -Check   01/05/2022    2990   Astor Chocolate                             Rooms - Guest Amenities                                       -771.66
           Bill Pmt -Check   01/05/2022    3022   Desiree Hendricks                           S&M - Contract Labor                                          -770.00
           Bill Pmt -Check   01/05/2022    2996   JB-NY Distributors, Inc. (TapRm)            F&B - Alcohol                                                 -764.40
           Bill Pmt -Check   01/05/2022    3004   Gray Matter Networks                        ITS - Phone Support                                           -727.07
           Bill Pmt -Check   01/05/2022    2999   Popinsanity                                 F&B - Minibar Food                                            -709.00
           Bill Pmt -Check   01/05/2022    3019   Aurora Hardware and Locksmith               POM - Engineering Supplies                                    -698.81
           Bill Pmt -Check   01/05/2022    3015   JA Cooling and Heating Inc.                 POM - HVAC Repair                                             -484.49
           Bill Pmt -Check   01/05/2022    2998   Martin Sidor Farms Inc.                     F&B - Minibar Food                                            -220.00




                                                                                                                                                                        Page 2 of 5
4:12 PM
           21-22108-shl                   Doc 421             Filed 02/28/22 Entered 02/28/22 21:12:42                                            Main Document
                                                                       The Williamsburg Hotel
02/14/22                                                                  Pg 19 of 67
                                                                                  Reconciliation Detail
                                                     1103500 · TD Mgmt Main Account...1596, Period Ending 01/31/2022
                Type           Date        Num                          Name                                          Description                    Clr   Amount

           Bill Pmt -Check   01/06/2022    ACH    Oxford Health - Combined                    Employee Health Insurance Monthly                           -13,474.66
           Bill Pmt -Check   01/06/2022    Wire   Miguel Ovalle                               POM - Painting & Wallcovering                                -1,000.00
           Bill Pmt -Check   01/06/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -910.66
           Bill Pmt -Check   01/06/2022    3025   The Social Secretary LLC                    S&M - Contract Labor                                          -251.24
           Check             01/06/2022    ACH    TD Bank 1596                                A&G - Banking Charges                                           -30.00
           Bill Pmt -Check   01/07/2022    3026   Metro Electrical Contractors, Inc.          POM - Electric Repair                                        -5,000.00
           Bill Pmt -Check   01/07/2022    3043   Charter Linen & Laundry Service -Next Gen   Rooms - Linen Laundry                                        -3,922.78
           Bill Pmt -Check   01/07/2022    3045   D'Artagnan                                  F&B - Food                                                   -3,223.46
           Bill Pmt -Check   01/07/2022    3056   Protek                                      POM - Kitchen Equipment Repairs & Maintenance                -3,140.24
           Bill Pmt -Check   01/07/2022    3040   RMAC Supplies Co.                           Rooms - Cleaning Supplies                                    -2,589.71
           Bill Pmt -Check   01/07/2022    3053   City Marshal Henry Daley                    A&G - FDNY Fees                                              -2,000.00
           Bill Pmt -Check   01/07/2022    3055   Mann Sales LLC                              S&M - Promotion                                              -2,000.00
           Bill Pmt -Check   01/07/2022    3042   Y&T Enterprises of Rockland                 A&G - Uniform Costs                                          -1,913.63
           Bill Pmt -Check   01/07/2022    3048   Coffee of Grace                             F&B - N/A Beverage                                           -1,675.00
           Bill Pmt -Check   01/07/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies            -1,573.04
           Bill Pmt -Check   01/07/2022    Wire   Mint Development...0696                     POM - Engineers Contract Labor                               -1,550.00
           Bill Pmt -Check   01/07/2022    ACH    Ready Refresh By Nestle                     A&G - Operating Supplies                                     -1,466.58
           Bill Pmt -Check   01/07/2022    3035   Michelle Price                              F&B - Music & Entertainment                                  -1,450.00
           Bill Pmt -Check   01/07/2022    3046   Sogno Toscano Tuscan Dream                  F&B - Food                                                   -1,265.07
           Bill Pmt -Check   01/07/2022    3031   Karine Kochariani                           F&B - Contract Labor                                         -1,158.00
           Bill Pmt -Check   01/07/2022    3050   I. Halper                                   F&B - Supplies                                               -1,038.11
           Bill Pmt -Check   01/07/2022    3047   AUTOTAP Corporation                         F&B - N/A Beverage                                            -719.65
           Bill Pmt -Check   01/07/2022    3049   Luxury Gourmet Sweets                       Minibar - Sundries                                            -672.20
           Bill Pmt -Check   01/07/2022    3030   Fall Family LLC                             POM - Contract Labor (Elevator Attendant)                     -624.00
           Bill Pmt -Check   01/07/2022    3052   SevenRooms Inc.                             F&B - Reservations Services                                   -544.38
           Bill Pmt -Check   01/07/2022    3029   Nick Biello                                 F&B - Music & Entertainment                                   -520.00
           Bill Pmt -Check   01/07/2022    3034   Basic Music LLC (DJ BOO)                    F&B - Music & Entertainment                                   -500.00
           Bill Pmt -Check   01/07/2022    3032   Kristiana Roemer                            F&B - Music & Entertainment                                   -450.00
           Bill Pmt -Check   01/07/2022    3028   Robert Aloia                                F&B - Music & Entertainment                                   -400.00
           Bill Pmt -Check   01/07/2022    3037   Supertaste Music LLC.                       F&B - Music & Entertainment                                   -400.00
           Bill Pmt -Check   01/07/2022    3033   Brouqueline, LLC                            F&B - Marketing & Promotion                                   -400.00
           Bill Pmt -Check   01/07/2022    3036   Michael Lee                                 F&B - Music & Entertainment                                   -400.00
           Bill Pmt -Check   01/07/2022    ACH    Guardian                                    Dental Insurance                                              -359.90
           Bill Pmt -Check   01/07/2022    3027   Julita Kropiwnicki                          A&G - Operating Supplies (Expense Reimbursement)              -328.06
           Bill Pmt -Check   01/07/2022    3054   Allbridge (DCI-Design)                      ITS - Telecommunications                                        -55.00
           Check             01/07/2022    ACH    TD Bank 1596                                A&G - Banking Charges                                           -30.00
           Bill Pmt -Check   01/10/2022    ACH    Riviera Produce                             F&B - Food                                                   -5,085.22
           Bill Pmt -Check   01/10/2022    ACH    Lobster Place Wholesale Seafood             F&B - Food                                                   -4,621.37
           Bill Pmt -Check   01/10/2022    ACH    Riviera Produce                             F&B - Food                                                   -3,907.29
           Bill Pmt -Check   01/10/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -909.62
           Bill Pmt -Check   01/11/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies            -2,683.96
           Bill Pmt -Check   01/11/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies            -2,203.88
           Bill Pmt -Check   01/11/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -662.94
           Bill Pmt -Check   01/12/2022    Wire   Janover LLC                                 Employee Health Insurance Monthly                            -1,563.00
           Check             01/12/2022    ACH    TD Bank 1596                                A&G - Banking Charges                                           -30.00
           Check             01/13/2022    ACH    Visa Chase Ink                              A&G - Credit Card Payment                                    -8,984.42
           Check             01/13/2022    ACH    Bank of America Business Card 7197          A&G - Credit Card Payment                                    -6,689.98
           Bill Pmt -Check   01/13/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -335.34
           Bill Pmt -Check   01/14/2022    3057   Alboro National                             F&B - Contract Services (Security)                           -4,158.75
           Bill Pmt -Check   01/14/2022    Wire   Mint Development...0696                     POM - Engineers Contract Labor                               -2,562.00
           Bill Pmt -Check   01/14/2022    3059   Metro Electrical Contractors, Inc.          POM - Electric Repair                                        -2,500.00
           Bill Pmt -Check   01/14/2022    3060   Salamon Engineering                         POM - Life/Safety                                            -1,500.00
           Bill Pmt -Check   01/14/2022    3062   Bronx Freight And Fish                      F&B - Food                                                   -1,212.21
           Bill Pmt -Check   01/14/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies            -1,013.44
           Bill Pmt -Check   01/14/2022    3058   Desiree Hendricks                           S&M - Contract Labor                                          -953.00
           Bill Pmt -Check   01/14/2022    3064   Karine Kochariani                           F&B - Contract Labor                                          -766.49
           Bill Pmt -Check   01/14/2022    3063   Fall Family LLC                             POM - Contract Labor (Elevator Attendant)                     -578.40
           Bill Pmt -Check   01/14/2022    3068   Ella Darr                                   F&B - Music & Entertainment                                   -550.00
           Bill Pmt -Check   01/14/2022    3066   Nick Biello                                 F&B - Music & Entertainment                                   -520.00
           Bill Pmt -Check   01/14/2022    3065   Rich Greene                                 F&B - Music & Entertainment                                   -500.00
           Bill Pmt -Check   01/14/2022    3069   Kristiana Roemer                            F&B - Music & Entertainment                                   -450.00
           Check             01/14/2022    ACH    TD Bank 1596                                A&G - Banking Charges                                           -30.00
           Bill Pmt -Check   01/17/2022    3072   Protek                                      POM - Kitchen Equipment Repairs & Maintenance                -3,312.09
           Bill Pmt -Check   01/17/2022    3073   Croker Fire Drill Corporation               POM - Life/Safety                                             -530.74
           Bill Pmt -Check   01/18/2022    3084   Balter Sales Co.                            F&B - Glassware & Supplies                                   -2,579.78
           Bill Pmt -Check   01/18/2022    3080   D'Artagnan                                  F&B - Food                                                   -2,344.19
           Bill Pmt -Check   01/18/2022    3074   RMAC Supplies Co.                           Rooms - Cleaning Supplies                                    -2,336.69




                                                                                                                                                                        Page 3 of 5
4:12 PM
           21-22108-shl                   Doc 421             Filed 02/28/22 Entered 02/28/22 21:12:42                                         Main Document
                                                                       The Williamsburg Hotel
02/14/22                                                                  Pg 20 of 67
                                                                               Reconciliation Detail
                                                     1103500 · TD Mgmt Main Account...1596, Period Ending 01/31/2022
                Type           Date        Num                          Name                                     Description                      Clr   Amount

           Bill Pmt -Check   01/18/2022    3085   I. Halper                                F&B - Supplies                                               -2,099.03
           Bill Pmt -Check   01/18/2022    3086   Mann Sales LLC                           S&M - Promotion                                              -2,000.00
           Bill Pmt -Check   01/18/2022    3078   1Concier (Harbor Linen)                  Rooms - Linen Cost                                           -1,623.14
           Bill Pmt -Check   01/18/2022    3075   Y&T Enterprises of Rockland              A&G - Uniform Costs                                          -1,559.73
           Bill Pmt -Check   01/18/2022    ACH    Dairyland USA Corp.                      F&B - Food, Non-Alcoholic Beverages, and Supplies             -808.58
           Bill Pmt -Check   01/19/2022    ACH    Expedia, Inc.                            Rooms - OTA Commissions                                     -15,266.67
           Bill Pmt -Check   01/19/2022    ACH    Dairyland USA Corp.                      F&B - Food, Non-Alcoholic Beverages, and Supplies            -1,763.67
           Bill Pmt -Check   01/19/2022    ACH    Dairyland USA Corp.                      F&B - Food, Non-Alcoholic Beverages, and Supplies             -993.10
           Bill Pmt -Check   01/19/2022    ACH    Dairyland USA Corp.                      F&B - Food, Non-Alcoholic Beverages, and Supplies             -557.18




                                                                                                                                                                     Page 4 of 5
4:12 PM
                21-22108-shl                    Doc 421          Filed 02/28/22 Entered 02/28/22 21:12:42                                               Main Document
                                                                          The Williamsburg Hotel
02/14/22                                                                     Pg 21 of 67
                                                                                      Reconciliation Detail
                                                           1103500 · TD Mgmt Main Account...1596, Period Ending 01/31/2022
                     Type              Date      Num                           Name                                           Description                  Clr    Amount

                Bill Pmt -Check    01/20/2022    ACH    Booking.com                                 Rooms - OTA Commissions                                      -24,313.85
                Bill Pmt -Check    01/20/2022    ACH    Winebow, Inc                                F&B - Alcohol                                                 -1,880.00
                Check              01/20/2022    ACH    Intuit Quickbooks                           ITS - System Expenses                                           -383.24
                Bill Pmt -Check    01/21/2022    3092   Charter Linen & Laundry Service -Next Gen   Rooms - Linen Laundry                                         -4,295.92
                Bill Pmt -Check    01/21/2022    Wire   Mint Development...0696                     POM - Engineers Contract Labor                                -2,509.00
                Bill Pmt -Check    01/21/2022    3094   Karine Kochariani                           F&B - Contract Labor                                          -1,141.11
                Bill Pmt -Check    01/21/2022    3100   Big Blue Beer Distributor                   Bounced Check Reissued                                        -1,029.13
                Bill Pmt -Check    01/21/2022    ACH    Micros Retail Systems Inc.                  ITS - F&B POS Support Monthly                                   -994.99
                Bill Pmt -Check    01/21/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies               -769.38
                Bill Pmt -Check    01/21/2022    3095   Nick Biello                                 F&B - Music & Entertainment                                     -520.00
                Bill Pmt -Check    01/21/2022    3096   Kristiana Roemer                            F&B - Music & Entertainment                                     -450.00
                Bill Pmt -Check    01/21/2022    3091   Desiree Hendricks                           S&M - Contract Labor                                            -420.00
                Check              01/21/2022    ACH    TD Bank 1596                                A&G - Banking Charges                                            -30.00
                Bill Pmt -Check    01/24/2022    ACH    Lobster Place Wholesale Seafood             F&B - Food                                                    -4,897.43
                Bill Pmt -Check    01/24/2022    ACH    Sorbis                                      ITS - Contract Services                                       -3,901.07
                Bill Pmt -Check    01/24/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -2,681.24
                Check              01/24/2022    ACH    Alliance Laundry Services                   Rooms - Washer/Dryer Monthly Lease                              -324.85
                Bill Pmt -Check    01/25/2022    ACH    Riviera Produce                             F&B - Food                                                    -4,480.47
                Bill Pmt -Check    01/25/2022    ACH    Riviera Produce                             F&B - Food                                                    -4,212.12
                Bill Pmt -Check    01/25/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -3,946.79
                Bill Pmt -Check    01/25/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -2,096.07
                Bill Pmt -Check    01/25/2022    3103   New Style Signs Ltd.                        POM - Furniture & Fixture Repair                                -979.88
                Bill Pmt -Check    01/25/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies               -862.59
                Bill Pmt -Check    01/25/2022    3104   The Social Secretary LLC                    S&M - Contract Labor                                            -276.99
                Bill Pmt -Check    01/26/2022    ACH    Guard Insurance                             Workers Compensation Insurance                               -12,549.31
                Check              01/26/2022    EFT    American Express - Gold                     Bounced Check Reissued                                        -2,844.70
                Check              01/27/2022    ACH    Visa Chase Ink                              A&G - Credit Card Payment                                     -8,331.27
                Bill Pmt -Check    01/27/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -2,835.76
                Bill Pmt -Check    01/27/2022    3123   Complete Equipment Rentals                  POM - Engineering Supplies                                    -2,034.66
                Bill Pmt -Check    01/27/2022    3129   Mann Sales LLC                              S&M - Promotion                                               -2,000.00
                Bill Pmt -Check    01/27/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -1,841.59
                Bill Pmt -Check    01/27/2022    ACH    Winebow, Inc                                F&B - Alcohol                                                 -1,656.00
                Bill Pmt -Check    01/27/2022    3112   Greenpoint Floral Co.                       Rooms - Decorations                                           -1,546.04
                Bill Pmt -Check    01/27/2022    3108   RMAC Supplies Co.                           Rooms - Cleaning Supplies                                     -1,185.39
                Bill Pmt -Check    01/27/2022    3124   A&S Chair & Party Rental                    F&B - Equipment Rental                                        -1,176.94
                Bill Pmt -Check    01/27/2022    ACH    NYC Water Board                             Utilities                                                       -780.99
                Bill Pmt -Check    01/28/2022    ACH    YVESDARBOUZE CORP (FARMACIST)               ITS - Contract Services                                       -5,000.00
                Bill Pmt -Check    01/28/2022    3151   RMAC Supplies Co.                           Rooms - Cleaning Supplies                                     -4,643.14
                Bill Pmt -Check    01/28/2022    Wire   Kassatex                                    Rejected Wire Transfer Returned                               -4,032.47
                Bill Pmt -Check    01/28/2022    3150   Charter Linen & Laundry Service -Next Gen   Rooms - Linen Laundry                                         -3,615.98
                Bill Pmt -Check    01/28/2022    3156   Riviera Produce                             F&B - Food                                                    -3,149.52
                Bill Pmt -Check    01/28/2022    ACH    Spectrum                                    ITS - Phone/Cable Provider                                    -2,721.67
                Bill Pmt -Check    01/28/2022    Wire   Mint Development...0696                     POM - Engineers Contract Labor                                -2,546.00
                Bill Pmt -Check    01/28/2022    3136   Alboro National                             F&B - Contract Services (Security)                            -2,425.19
                Bill Pmt -Check    01/28/2022    3140   Michelle Price                              F&B - Music & Entertainment                                   -2,175.00
                Bill Pmt -Check    01/28/2022    3146   Karine Kochariani                           F&B - Contract Labor                                          -1,034.63
                Bill Pmt -Check    01/28/2022    ACH    TripAdvisor                                 S&M - Dues & Subscriptions                                      -788.33
                Bill Pmt -Check    01/28/2022    3143   Camilo Trujillo                             F&B - Music & Entertainment                                     -700.00
                Bill Pmt -Check    01/28/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies               -537.91
                Bill Pmt -Check    01/28/2022    3144   Kristiana Roemer                            F&B - Music & Entertainment                                     -450.00
                Bill Pmt -Check    01/28/2022    3167   Arcade                                      A&G - Operating Supplies                                        -247.10
                Check              01/28/2022    ACH    TD Bank 1596                                A&G - Banking Charges                                            -30.00
                Check              01/28/2022    ACH    TD Bank 1596                                A&G - Banking Charges                                            -30.00
                Bill Pmt -Check    01/31/2022    ACH    Dairyland USA Corp.                         F&B - Food, Non-Alcoholic Beverages, and Supplies             -1,624.11
                Check              01/31/2022    ACH    Intuit Quickbooks                           ITS - System Expenses                                           -144.49
           Total Checks and Payments                                                                                                                             -543,717.10




                                                                                                                                                                               Page 5 of 5
4:53 PM
                    21-22108-shl                 Doc 421           Filed 02/28/22 Entered 02/28/22 21:12:42                                     Main Document
                                                                            The Pg
                                                                                Williamsburg
                                                                                     22 of 67Hotel
02/10/22
                                                                               Reconciliation Detail
                                                          1103510 · TD Mgmt Payroll Account...1603, Period Ending 01/31/2022
                                Type             Date            Num                     Name                          Description                Clr    Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 23 items
                        General Journal      01/01/2022    PR122621-12   Payroll Entry                   Payroll for 12/20/21 - 12/26/21 #253              -192.75
                        Check                01/03/2022    ACH           Paychex - Payroll (EIB)         A&G - Payroll Processing Fee                      -906.92
                        General Journal      01/07/2022    PR010222-10   Payroll Entry                   Payroll for 12/27/21 - 1/2/22 #254            -129,963.55
                        General Journal      01/07/2022    PR010222-11   Payroll Entry                   Payroll for 12/27/21 - 1/2/22 #254             -55,110.79
                        General Journal      01/07/2022    PR010222-12   Payroll Entry                   Payroll for 12/27/21 - 1/2/22 #254                -270.75
                        Check                01/10/2022    ACH           Paychex - Payroll (EIB)         A&G - Payroll Processing Fee                    -3,602.17
                        General Journal      01/14/2022    PR010922-10   Payroll Entry                   Payroll for 1/3/22 - 1/9/22 #255              -118,709.45
                        General Journal      01/14/2022    PR010922-11   Payroll Entry                   Payroll for 1/3/22 - 1/9/22 #255               -50,594.97
                        Check                01/14/2022    ACH           Paychex - Time & Attend (HRS)   ITS - Time & Attendance Software                  -387.84
                        General Journal      01/14/2022    PR010922-12   Payroll Entry                   Payroll for 1/3/22 - 1/9/22 #255                  -233.85
                        Bill Pmt -Check      01/18/2022    EFT           IRS                             Payroll for 1/3/22 - 1/9/22 #255               -18,100.00
                        General Journal      01/18/2022    OAB0122       Paychex - Timeclock (OAB)       ITS - Timeclocks                                -1,601.99
                        Check                01/18/2022    ACH           Paychex - Payroll (EIB)         A&G - Payroll Processing Fee                      -828.61
                        General Journal      01/20/2022    ACH                                           Payroll for 1/3/22 - 1/9/22 #255                    -0.48
                        General Journal      01/21/2022    PR011622-10   Payroll Entry                   Payroll for 1/10/22 - 1/16/22 #256            -120,356.96
                        General Journal      01/21/2022    PR011622-11   Payroll Entry                   Payroll for 1/10/22 - 1/16/22 #256             -51,451.51
                        General Journal      01/21/2022    PR011622-12   Payroll Entry                   Payroll for 1/10/22 - 1/16/22 #256                -192.75
                        Check                01/24/2022    ACH           Paychex - Payroll (EIB)         A&G - Payroll Processing Fee                      -825.31
                        General Journal      01/28/2022    PR012322-10   Payroll Entry                   Payroll for 1/17/22 - 1/23/22 #257            -127,642.67
                        General Journal      01/28/2022    PR012322-11   Payroll Entry                   Payroll for 1/17/22 - 1/23/22 #257             -53,873.38
                        General Journal      01/28/2022    PR012322-12   Payroll Entry                   Payroll for 1/17/22 - 1/23/22 #257                -192.75
                        Check                01/31/2022    ACH           Paychex - Payroll (EIB)         A&G - Payroll Processing Fee                      -871.52
                        General Journal      01/31/2022                                                  A&G - Bank Charges                                 -30.00
               Total Checks and Payments                                                                                                                -735,940.97
               Deposits and Credits - 14 items
                        General Journal      01/03/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             248.33
                        General Journal      01/03/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             480.09
                        General Journal      01/03/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             501.35
                        General Journal      01/03/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             504.94
                        General Journal      01/31/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             386.61
                        General Journal      01/31/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             427.24
                        General Journal      01/31/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             509.57
                        General Journal      01/31/2022    ReturnCh      Frederick Wakkary               Return of Stale Check                             573.47
               Total Deposits and Credits                                                                                                                  3,631.60
           Total Cleared Transactions                                                                                                                   -732,309.37




                                                                                                                                                                      Page 1 of 1
4:54 PM                                                                        The Williamsburg Hotel
       21-22108-shl
02/10/22
                                             Doc 421            Filed 02/28/22           Entered
                                                                                Reconciliation   Detail02/28/22 21:12:42             Main Document
                                                                                   PgAccount...1611,
                                                             1103520 · TD Mgmt Reserve 23 of 67Period Ending 01/31/2022

                                      Type        Date         Num             Name                Description   Clr   Amount        Balance

Beginning Balance                                                                                                                    439,687.57
           Cleared Transactions
               Checks and Payments - 1 item
                                  Check         01/27/2022     ACH   NYS DTF                Sales Tax Payment         -146,338.00   -146,338.00
               Total Checks and Payments                                                                               -146,338.00   -146,338.00




                                                                                                                                                   Page 1 of 1
21-22108-shl   Doc 421   Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                     Pg 24 of 67
21-22108-shl   Doc 421   Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                     Pg 25 of 67




                      The Williamsburg Hotel
                          Balance Sheet
        Period Ending                                           31-Jan-22

        Assets
        Cash And Cash Equivalents                       $    3,054,170.18
        Cash - Sales Tax Reserve                        $      184,351.39
        Cash - Reserved for Property Tax Plan
        Payment Due 1/1/22                              $       31,067.15
        Net Receivables                                 $       64,911.70
        Inventory                                       $      239,635.91
        Net Property Plant and Equipment                $   91,552,118.59
        Prepaid Expenses                                $       54,786.49
        Prepaid Insurance                               $      396,854.34
        Total Assets                                    $   95,577,895.76

        Liabilities
        Accounts Payable                                $    1,245,135.02
        Advance Deposits                                $      558,177.98
        Accrued Payroll & Employer Taxes                $      187,156.91
        Accrued Sales Tax (Rooms)                       $      158,812.63
        Accrued Sales Tax (F&B)                         $       25,538.76
        Long Term Debt                                  $   83,517,769.95
        Other Liabilities                               $        2,170.00
        Total Liabilities                               $   85,694,761.25

        Stockholders' Equity
        Preferred Stock                                 $     4,000,000.00
        Common Stock                                    $    29,346,763.78
        Retained Earnings                               $   (23,086,527.35)
        Net Income                                      $      (377,101.92)
        Total Stockholder Equity                        $     9,883,134.51

        Total Liabilities + Stockholders' Equity        $   95,577,895.76
 21-22108-shl       Doc 421    Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                           Pg 26 of 67

                                                E     STATEMENT OF ACCOUNT



   96 WYTHE ACQUISITION LLC DBA                       Page:                                  1 of 2
   THE WILLIAMSBURG HOTEL                             Statement Period:    Jan 01 2022-Jan 31 2022
   DIP CASE 21-22108 SDNY                             Cust Ref #:            4384910927-039-E-***
   3284 N 29TH CT                                     Primary Account #:              438-4910927
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                      Account # 438-4910927
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108 SDNY


ACCOUNT SUMMARY
Beginning Balance              1,738,803.02                 Average Collected Balance      1,738,803.02
                                                            Interest Earned This Period            0.00
Ending Balance                 1,738,803.02                 Interest Paid Year-to-Date             0.00
                                                            Annual Percentage Yield Earned       0.00%
                                                            Days in Period                           31


DAILY ACCOUNT ACTIVITY
No Transactions this Statement Period




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    21-22108-shl                   Doc 421                Filed 02/28/22 Entered 02/28/22 21:12:42                                                  Main Document
                                                                      Pg 27 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,738,803.02
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 21-22108-shl         Doc 421   Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                            Pg 28 of 67

                                                 E     STATEMENT OF ACCOUNT



   96 WYTHE ACQUISITION LLC DBA                        Page:                                  1 of 6
   THE WILLIAMSBURG HOTEL                              Statement Period:    Jan 01 2022-Jan 31 2022
   DIP CASE 21-22108-RRD SDNY                          Cust Ref #:            4384910935-039-E-***
   3284 N 29TH CT                                      Primary Account #:              438-4910935
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                       Account # 438-4910935
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108-RRD SDNY


ACCOUNT SUMMARY
Beginning Balance               1,565,670.75                 Average Collected Balance      1,478,874.94
Electronic Deposits             1,325,226.20                 Interest Earned This Period            0.00
Other Credits                      14,000.00                 Interest Paid Year-to-Date             0.00
                                                             Annual Percentage Yield Earned       0.00%
Electronic Payments             1,563,413.47                 Days in Period                           31
Other Withdrawals                  20,030.00
Ending Balance                  1,321,453.48




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                       AMOUNT
01/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               49,288.34
01/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               41,082.95
01/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               32,037.66
01/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                7,870.92
01/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                  144.31
01/04            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               46,666.48
01/05            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               46,970.65
01/06            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               62,836.16
01/06            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               38,681.49
01/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               23,542.67
01/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                2,972.61
01/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               25,218.60
01/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               18,979.35
01/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               11,468.19
01/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                7,419.31
01/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                4,506.12
01/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                3,583.22
01/11            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               25,187.15
01/11            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               15,212.22
01/12            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               42,167.08
01/12            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                6,898.51
01/13            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               48,426.10
01/13            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                3,107.21
01/14            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               17,504.09
01/14            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                3,130.70

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    21-22108-shl                   Doc 421                Filed 02/28/22 Entered 02/28/22 21:12:42                                                  Main Document
                                                                      Pg 29 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 6

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,321,453.48
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 21-22108-shl     Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                          Pg 30 of 67

                                                     STATEMENT OF ACCOUNT


   96 WYTHE ACQUISITION LLC DBA
   THE WILLIAMSBURG HOTEL                            Page:                                  3 of 6
   DIP CASE 21-22108-RRD SDNY                        Statement Period:    Jan 01 2022-Jan 31 2022
                                                     Cust Ref #:            4384910935-039-E-***
                                                     Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              40,629.23
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              27,339.47
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              23,827.60
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              22,556.87
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              17,626.52
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              15,293.60
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               7,693.74
01/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               2,965.61
01/19           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              45,612.77
01/19           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              10,519.08
01/20           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              43,128.56
01/20           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               6,738.62
01/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              40,979.55
01/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               3,469.51
01/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              39,390.78
01/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              38,689.93
01/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              19,679.66
01/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              13,265.22
01/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               7,197.37
01/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,808.65
01/24           ACH DEPOSIT, PULSD INC. BILL PMT ****910935                                       991.20
01/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              38,669.34
01/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              18,490.38
01/26           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              53,579.15
01/26           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               9,071.55
01/27           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              27,809.92
01/27           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               3,822.80
01/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              45,599.15
01/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,719.93
01/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              33,720.40
01/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              31,481.09
01/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              18,526.06
01/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              10,667.75
01/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               7,072.59
01/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,690.46
                                                                          Subtotal:         1,325,226.20




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl     Doc 421      Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                           Pg 31 of 67

                                                      STATEMENT OF ACCOUNT


   96 WYTHE ACQUISITION LLC DBA
   THE WILLIAMSBURG HOTEL                             Page:                                  4 of 6
   DIP CASE 21-22108-RRD SDNY                         Statement Period:    Jan 01 2022-Jan 31 2022
                                                      Cust Ref #:            4384910935-039-E-***
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE    DESCRIPTION                                                                       AMOUNT
01/14           WIRE TRANSFER INCOMING, JURY BOX LLC                                            14,000.00
                                                                           Subtotal:            14,000.00
Electronic Payments
POSTING DATE    DESCRIPTION                                                                       AMOUNT
01/03           eTransfer Debit, Online Xfer                                                    58,199.89
                 Transfer to CK 4380021596
01/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****01938889                               38,902.66
01/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****03671884                                7,653.30
01/03           CCD DEBIT, FISERV MERCHANT FEE ****01938889                                      3,698.87
01/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****01938889                                 2,738.80
01/03           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                        850.93
01/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****03671884                                   605.33
01/03           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  75.00
01/03           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.17
01/05           eTransfer Debit, Online Xfer                                                    56,663.65
                 Transfer to CK 4380021596
01/05           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  34.84
01/06           eTransfer Debit, Online Xfer                                                   186,345.09
                 Transfer to CK 4380021603
01/07           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          3.81
01/10           eTransfer Debit, Online Xfer                                                    58,118.43
                 Transfer to CK 4380021596
01/10           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 672.72
01/12           eTransfer Debit, Online Xfer                                                    60,161.26
                 Transfer to CK 4380021596
01/12           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  80.60
01/13           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 146.99
01/13           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 121.25
01/14           eTransfer Debit, Online Xfer                                                   170,538.27
                 Transfer to CK 4380021603
01/18           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                               1,547.84
01/18           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                  38.11
01/18           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  20.60
01/19           eTransfer Debit, Online Xfer                                                    42,220.52
                 Transfer to CK 4380021596
01/19           eTransfer Debit, Online Xfer                                                    37,886.66
                 Transfer to CK 4380021596
01/19           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                               1,389.39
01/20           eTransfer Debit, Online Xfer                                                   173,001.22
                 Transfer to CK 4380021603
01/20           CCD DEBIT, QUARTERLY FEE PAYMENT 0000                                           48,494.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl       Doc 421      Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                             Pg 32 of 67

                                                        STATEMENT OF ACCOUNT


   96 WYTHE ACQUISITION LLC DBA
   THE WILLIAMSBURG HOTEL                               Page:                                  5 of 6
   DIP CASE 21-22108-RRD SDNY                           Statement Period:    Jan 01 2022-Jan 31 2022
                                                        Cust Ref #:            4384910935-039-E-***
                                                        Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                         AMOUNT
01/21           eTransfer Debit, Online Xfer                                                      43,035.44
                    Transfer to CK 4380021596
01/21           eTransfer Debit, Online Xfer                                                      39,580.52
                    Transfer to CK 4380021596
01/21           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                   857.72
01/24           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                            0.31
01/25           eTransfer Debit, Online Xfer                                                     215,946.74
                    Transfer to CK 4380021611
01/25           eTransfer Debit, Online Xfer                                                      37,489.12
                    Transfer to CK 4380021596
01/25           eTransfer Debit, Online Xfer                                                       1,989.83
                    Transfer to CK 4380021603
01/26           eTransfer Debit, Online Xfer                                                      19,000.65
                    Transfer to CK 4380021596
01/26           eTransfer Debit, Online Xfer                                                      18,100.00
                    Transfer to CK 4380021603
01/26           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                   597.04
01/27           eTransfer Debit, Online Xfer                                                     182,708.80
                    Transfer to CK 4380021603
01/27           eTransfer Debit, Online Xfer                                                      52,926.18
                    Transfer to CK 4380021596
01/28           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                               0.42
01/31           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                      907.15
01/31           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                       63.35
                                                                             Subtotal:         1,563,413.47
Other Withdrawals
POSTING DATE    DESCRIPTION                                                                         AMOUNT
01/05           WIRE TRANSFER OUTGOING, Leitner Berman Inc.                                       20,000.00
01/05           WIRE TRANSFER FEE                                                                     30.00
                                                                             Subtotal:            20,030.00


DAILY BALANCE SUMMARY
DATE                                 BALANCE                  DATE                                 BALANCE
12/31                           1,565,670.75                  01/18                           1,655,257.07
01/03                           1,583,369.98                  01/19                           1,629,892.35
01/04                           1,630,036.46                  01/20                           1,458,264.31
01/05                           1,600,278.62                  01/21                           1,419,239.69
01/06                           1,515,451.18                  01/24                           1,543,262.19
01/07                           1,541,962.65                  01/25                           1,344,996.22
01/10                           1,554,346.29                  01/26                           1,369,949.23

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl   Doc 421    Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                       Pg 33 of 67

                                                  STATEMENT OF ACCOUNT


   96 WYTHE ACQUISITION LLC DBA
   THE WILLIAMSBURG HOTEL                         Page:                                  6 of 6
   DIP CASE 21-22108-RRD SDNY                     Statement Period:    Jan 01 2022-Jan 31 2022
                                                  Cust Ref #:            4384910935-039-E-***
                                                  Primary Account #:              438-4910935




DAILY BALANCE SUMMARY
DATE                              BALANCE               DATE                                 BALANCE
01/11                      1,594,745.66                 01/27                           1,165,946.97
01/12                      1,583,569.39                 01/28                           1,216,265.63
01/13                      1,634,834.46                 01/31                           1,321,453.48
01/14                      1,498,930.98




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl         Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                              Pg 34 of 67

                                                    E    STATEMENT OF ACCOUNT



   THE WILLIAMSBURG HOTEL BK LLC                         Page:                                 1 of 28
   96 WYTHE AVE                                          Statement Period:    Jan 01 2022-Jan 31 2022
   BROOKLYN NY 11249                                     Cust Ref #:            4380021596-719-E-***
                                                         Primary Account #:              438-0021596




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                        Account # 438-0021596


ACCOUNT SUMMARY
Beginning Balance                    96,172.81                 Average Collected Balance           84,542.45
Electronic Deposits                 505,282.32                 Interest Earned This Period              0.00
                                                               Interest Paid Year-to-Date               0.00
Checks Paid                         309,864.96                 Annual Percentage Yield Earned         0.00%
Electronic Payments                 217,879.67                 Days in Period                             31
Other Withdrawals                    15,972.47
Ending Balance                       57,738.03




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                         AMOUNT
01/03            eTransfer Credit, Online Xfer                                                     58,199.89
                      Transfer from CK 4384910935
01/05            eTransfer Credit, Online Xfer                                                     56,663.65
                      Transfer from CK 4384910935
01/10            eTransfer Credit, Online Xfer                                                     58,118.43
                      Transfer from CK 4384910935
01/12            eTransfer Credit, Online Xfer                                                     60,161.26
                      Transfer from CK 4384910935
01/19            eTransfer Credit, Online Xfer                                                     42,220.52
                      Transfer from CK 4384910935
01/19            eTransfer Credit, Online Xfer                                                     37,886.66
                      Transfer from CK 4384910935
01/21            eTransfer Credit, Online Xfer                                                     43,035.44
                      Transfer from CK 4384910935
01/21            eTransfer Credit, Online Xfer                                                     39,580.52
                      Transfer from CK 4384910935
01/25            eTransfer Credit, Online Xfer                                                     37,489.12
                      Transfer from CK 4384910935
01/26            eTransfer Credit, Online Xfer                                                     19,000.65
                      Transfer from CK 4384910935
01/27            eTransfer Credit, Online Xfer                                                     52,926.18
                      Transfer from CK 4384910935

                                                                              Subtotal:           505,282.32




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    21-22108-shl                   Doc 421                Filed 02/28/22 Entered 02/28/22 21:12:42                                                  Main Document
                                                                      Pg 35 of 67
    How to Balance your Account                                                                                                               Page:                                2 of 28

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         57,738.03
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 21-22108-shl     Doc 421         Filed 02/28/22 Entered 02/28/22 21:12:42                                     Main Document
                                              Pg 36 of 67

                                                                            STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
                                                                            Page:                                           3 of 28
                                                                            Statement Period:              Jan 01 2022-Jan 31 2022
                                                                            Cust Ref #:                      4380021596-719-E-***
                                                                            Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid     No. Checks: 191   *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.                   AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
01/18           300                     1,038.11                                   01/26                     2921                              200.00
01/12           1944*                   4,173.18                                   01/04                     2922                          1,063.65
01/27           1953*                        44.00                                 01/18                     2923                              450.00
01/04           2015*                      354.83                                  01/07                     2925*                             400.00
01/03           2044*                      310.80                                  01/24                     2927*                             420.00
01/24           2543*                      444.25                                  01/06                     2930*                         2,808.00
01/11           2547*                      439.00                                  01/03                     2931                          2,310.00
01/24           2709*                      350.00                                  01/04                     2933*                             396.02
01/14           2726*                   6,899.35                                   01/04                     2935*                         3,478.56
01/21           2831*                      200.00                                  01/04                     2936                          6,256.10
01/10           2851*                   1,100.00                                   01/04                     2937                          1,000.00
01/07           2852                       771.24                                  01/03                     2938                          1,281.17
01/11           2869*                   1,195.08                                   01/05                     2939                          1,200.00
01/03           2870                    3,583.16                                   01/03                     2940                          1,106.24
01/12           2871                       666.00                                  01/04                     2941                              150.00
01/06           2872                         45.00                                 01/24                     2942                              955.92
01/05           2874*                   1,390.43                                   01/07                     2943                          4,697.96
01/13           2875                    1,332.75                                   01/13                     2944                          5,087.00
01/05           2876                    1,236.96                                   01/06                     2945                          2,966.17
01/03           2877                       544.38                                  01/03                     2946                              871.00
01/24           2879*                      955.92                                  01/05                     2947                          3,425.00
01/05           2880                       484.25                                  01/03                     2948                          8,000.00
01/10           2883*                      150.00                                  01/05                     2950*                         2,731.17
01/31           2885*                      400.00                                  01/13                     2951                          1,125.00
01/04           2887*                   1,163.67                                   01/05                     2952                          1,099.00
01/11           2888                       806.00                                  01/13                     2953                              888.50
01/07           2901*                      400.00                                  01/05                     2954                          1,074.98
01/11           2904*                      976.88                                  01/20                     2955                              547.55
01/03           2908*                      535.00                                  01/13                     2956                          1,825.00
01/11           2910*                      700.00                                  01/05                     2958*                         2,525.23
01/11           2911                       700.00                                  01/03                     2959                          3,167.19
01/03           2915*                   2,534.46                                   01/18                     2960                          1,383.28
01/11           2919*                      494.25                                  01/11                     2961                          4,427.85
01/10           2920                       664.00                                  01/10                     2962                              904.68


Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl    Doc 421   Filed 02/28/22 Entered 02/28/22 21:12:42                                      Main Document
                                       Pg 37 of 67

                                                                      STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
                                                                      Page:                                           4 of 28
                                                                      Statement Period:              Jan 01 2022-Jan 31 2022
                                                                      Cust Ref #:                      4380021596-719-E-***
                                                                      Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
01/31           2963                 598.43                                  01/19                     3002                          2,981.00
01/05           2964                   36.40                                 01/06                     3003                              110.00
01/06           2965              1,800.00                                   01/18                     3004                              727.07
01/03           2966              5,000.00                                   01/21                     3005                          1,449.42
01/26           2968*             1,004.23                                   01/24                     3006                          1,047.92
01/04           2969                 646.72                                  01/19                     3007                          1,274.77
01/05           2970                 272.92                                  01/24                     3008                        17,045.82
01/04           2971                 353.84                                  01/18                     3009                          4,000.00
01/05           2972                 350.00                                  01/18                     3010                          2,361.93
01/11           2974*             1,937.98                                   01/19                     3011                          2,361.69
01/10           2975                 548.80                                  01/19                     3012                          2,969.20
01/11           2976              2,170.00                                   01/18                     3014*                         2,700.00
01/11           2977              2,170.00                                   01/21                     3015                              484.49
01/24           2978                 450.00                                  01/18                     3016                          4,658.77
01/07           2979                 400.00                                  01/19                     3018*                             903.23
01/13           2980                 500.00                                  01/26                     3019                              698.81
01/25           2981                 520.00                                  01/31                     3020                              841.00
01/05           2982                 400.00                                  01/20                     3021                          3,133.85
01/12           2983              1,610.37                                   01/10                     3022                              770.00
01/03           2984              3,000.00                                   01/07                     3023                              900.00
01/07           2985              2,477.86                                   01/10                     3025*                             251.24
01/11           2986              1,500.00                                   01/10                     3026                          5,000.00
01/19           2987              3,033.37                                   01/10                     3027                              328.06
01/18           2988              3,872.92                                   01/12                     3028                              400.00
01/18           2990*                771.66                                  01/25                     3029                              520.00
01/21           2992*             4,331.23                                   01/28                     3030                              624.00
01/20           2993              1,040.00                                   01/11                     3031                          1,158.00
01/20           2994                 927.52                                  01/18                     3032                              450.00
01/18           2995              1,225.37                                   01/07                     3033                              400.00
01/25           2996                 764.40                                  01/18                     3034                              500.00
01/24           2998*                220.00                                  01/10                     3035                          1,450.00
01/19           2999                 709.00                                  01/25                     3036                              400.00
01/19           3000              1,430.92                                   01/28                     3037                              400.00
01/18           3001              1,443.60                                   01/19                     3040*                         2,589.71


Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl     Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42                                     Main Document
                                          Pg 38 of 67

                                                                        STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
                                                                        Page:                                           5 of 28
                                                                        Statement Period:              Jan 01 2022-Jan 31 2022
                                                                        Cust Ref #:                      4380021596-719-E-***
                                                                        Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)       *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.              AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
01/18           3042*               1,913.63                                   01/27                     3080*                         2,344.19
01/18           3043                3,922.78                                   01/27                     3084*                         2,579.78
01/21           3045*               3,223.46                                   01/24                     3085                          2,099.03
01/20           3046                1,265.07                                   01/26                     3086                          2,000.00
01/19           3047                   719.65                                  01/21                     3091*                             420.00
01/18           3048                1,675.00                                   01/24                     3092                          4,295.92
01/19           3049                   672.20                                  01/24                     3094*                         1,141.11
01/28           3052*                  544.38                                  01/25                     3095                              520.00
01/19           3053                2,000.00                                   01/24                     3096                              450.00
01/21           3054                     55.00                                 01/21                     3100*                         1,029.13
01/18           3055                2,000.00                                   01/31                     3103*                             979.88
01/19           3056                3,140.24                                   01/25                     3104                              276.99
01/18           3057                4,158.75                                   01/31                     3108*                         1,185.39
01/14           3058                   953.00                                  01/31                     3112*                         1,546.04
01/18           3059                2,500.00                                   01/31                     3123*                         2,034.66
01/19           3060                1,500.00                                   01/31                     3124                          1,176.94
01/20           3062*               1,212.21                                   01/31                     3125                              450.00
01/28           3063                   578.40                                  01/31                     3129*                         2,000.00
01/18           3064                   766.49                                  01/31                     3136*                         2,425.19
01/18           3065                   500.00                                  01/31                     3140*                         2,175.00
01/25           3066                   520.00                                  01/31                     3143*                             700.00
01/24           3068*                  550.00                                  01/31                     3144                              450.00
01/18           3069                   450.00                                  01/31                     3146*                         1,034.63
01/28           3072*               3,312.09                                   01/31                     3150*                         3,615.98
01/27           3073                   530.74                                  01/31                     3151                          4,643.14
01/31           3074                2,336.69                                   01/31                     3156*                         3,149.52
01/26           3075                1,559.73                                   01/31                     3167*                             247.10
01/31           3078*               1,623.14
                                                                                                        Subtotal:                  309,864.96
Electronic Payments
POSTING DATE    DESCRIPTION                                                                                                                AMOUNT
01/03           ELECTRONIC PMT-WEB, NYSIF WEB_PAY 00667654122021                                                                       2,606.69
01/03           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   1,460.32
01/03           CCD DEBIT, ASCENTIUMCAPITAL LEASECHG 173752                                                                            1,249.32
01/03           CCD DEBIT, MERCHANT SERVICE MERCH FEE 8079292879                                                                         300.32

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl    Doc 421      Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                          Pg 39 of 67

                                                     STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
                                                     Page:                                 6 of 28
                                                     Statement Period:    Jan 01 2022-Jan 31 2022
                                                     Cust Ref #:            4380021596-719-E-***
                                                     Primary Account #:              438-0021596




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
01/03           CCD DEBIT, HEALTHPLUS OR1544015 000001393648806                                   281.37
01/04           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000718657                             33,725.34
01/04           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            3,044.73
01/04           CCD DEBIT, EMPIRE BLUE INDIVIDUAL 2263434                                       1,968.26
01/04           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,571.60
01/06           CTX DEBIT, UNITED HEALTHCAR EDI PAYMTS 636007367224                            13,474.66
01/06           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              910.66
01/07           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,573.04
01/07           CCD DEBIT, READYREFRESH ECHECKPAY 0446216020                                    1,466.58
01/07           CCD DEBIT, THE GUARDIAN JAN GP INS 79990900BE10000                                359.90
01/10           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                       5,085.22
01/10           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                    4,621.37
01/10           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                       3,907.29
01/10           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              909.62
01/11           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,683.96
01/11           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,203.88
01/11           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              662.94
01/13           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                    8,984.42
01/13           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                    6,689.98
01/13           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              335.34
01/14           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,013.44
01/18           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              808.58
01/19           CCD DEBIT, EXPEDIA, INC. 10079862_6 127000595068                               15,266.67
01/19           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,763.67
01/19           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              993.10
01/19           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              557.18
01/20           CCD DEBIT, BOOKING.COM B.V. 1027609328 10000700272755                          24,313.85
01/20           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000162675                              1,880.00
01/20           CCD DEBIT, 833-830-9255 QUICKBOOKS 2997237                                        383.24
01/21           CCD DEBIT, MICROS RETAIL SY ACH DEBIT 5315891072                                  994.99
01/21           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              769.38
01/24           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                    4,897.43
01/24           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                           3,901.07
01/24           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,681.24
01/24           CCD DEBIT, ALLIANCE ACHDEBITS 000102316653001                                     324.85
01/25           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                       4,480.47
01/25           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                       4,212.12
01/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            3,946.79
01/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,835.76


Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl       Doc 421   Filed 02/28/22 Entered 02/28/22 21:12:42        Main Document
                                          Pg 40 of 67

                                                       STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
                                                       Page:                                 7 of 28
                                                       Statement Period:    Jan 01 2022-Jan 31 2022
                                                       Cust Ref #:            4380021596-719-E-***
                                                       Primary Account #:              438-0021596




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                        AMOUNT
01/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              2,096.07
01/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                862.59
01/26           CCD DEBIT, WESTGUARD INS CO INS PREM WIWC291833                                  12,549.31
01/26           CCD DEBIT, AMEX EPAYMENT ACH PMT W1602                                            2,844.70
01/27           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                      8,331.27
01/27           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              1,841.59
01/27           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000164097                                1,656.00
01/27           TD BILL PAY SERV, NYC WATER BOARD ONLINE PMT TDB212585026POS                        780.99
01/28           CCD DEBIT, FARMACIST SALE                                                         5,000.00
01/28           ELECTRONIC PMT-WEB, SPECTRUM SPECTRUM 6805128                                     2,721.67
01/28           ELECTRONIC PMT-WEB, TRIPADVISOR ADVERTSING 0148041                                  788.33
01/28           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                537.91
01/31           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              1,624.11
01/31           ELECTRONIC PMT-TEL, 833-830-9255 QUICKBOOKS 2419791                                 144.49
                                                                            Subtotal:           217,879.67
Other Withdrawals
POSTING DATE    DESCRIPTION                                                                        AMOUNT
01/06           WIRE   TRANSFER OUTGOING, Miguel Ovalle                                           1,000.00
01/06           WIRE   TRANSFER FEE                                                                  30.00
01/07           WIRE   TRANSFER OUTGOING, Mint Development Corp                                   1,550.00
01/07           WIRE   TRANSFER FEE                                                                  30.00
01/12           WIRE   TRANSFER OUTGOING, Janover LLC                                             1,563.00
01/12           WIRE   TRANSFER FEE                                                                  30.00
01/14           WIRE   TRANSFER OUTGOING, Mint Development Corp                                   2,562.00
01/14           WIRE   TRANSFER FEE                                                                  30.00
01/21           WIRE   TRANSFER OUTGOING, Mint Development Corp                                   2,509.00
01/21           WIRE   TRANSFER FEE                                                                  30.00
01/28           WIRE   TRANSFER OUTGOING, Kassatex Inc.                                           4,032.47
01/28           WIRE   TRANSFER OUTGOING, Mint Development Corp                                   2,546.00
01/28           WIRE   TRANSFER FEE                                                                  30.00
01/28           WIRE   TRANSFER FEE                                                                  30.00
                                                                            Subtotal:            15,972.47


DAILY BALANCE SUMMARY
DATE                              BALANCE                    DATE                                 BALANCE
12/31                           96,172.81                    01/18                               40,341.52
01/03                          116,231.28                    01/19                               75,583.10
01/04                           61,057.96                    01/20                               40,879.81

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
 21-22108-shl   Doc 421    Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                       Pg 41 of 67

                                                  STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
                                                  Page:                                 8 of 28
                                                  Statement Period:    Jan 01 2022-Jan 31 2022
                                                  Cust Ref #:            4380021596-719-E-***
                                                  Primary Account #:              438-0021596




DAILY BALANCE SUMMARY
DATE                          BALANCE                   DATE                                 BALANCE
01/05                       101,495.27                  01/21                             107,999.67
01/06                        78,350.78                  01/24                              65,769.19
01/07                        62,924.20                  01/25                              81,303.12
01/10                        95,352.35                  01/26                              79,446.99
01/11                        71,126.53                  01/27                             114,264.61
01/12                       122,845.24                  01/28                              93,119.36
01/13                        96,077.25                  01/31                              57,738.03
01/14                        84,619.46




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 42 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                 9 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#300        01/18        $1,038.11               #1944         01/12           $4,173.18




#1953       01/27        $44.00                  #2015         01/04           $354.83




#2044       01/03        $310.80                 #2543         01/24           $444.25




#2547       01/11        $439.00                 #2709         01/24           $350.00




#2726       01/14        $6,899.35               #2831         01/21           $200.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 43 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                10 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2851       01/10        $1,100.00               #2852         01/07           $771.24




#2869       01/11        $1,195.08               #2870         01/03           $3,583.16




#2871       01/12        $666.00                 #2872         01/06           $45.00




#2874       01/05        $1,390.43               #2875         01/13           $1,332.75




#2876       01/05        $1,236.96               #2877         01/03           $544.38
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 44 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                11 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2879       01/24        $955.92                 #2880         01/05           $484.25




#2883       01/10        $150.00                 #2885         01/31           $400.00




#2887       01/04        $1,163.67               #2888         01/11           $806.00




#2901       01/07        $400.00                 #2904         01/11           $976.88




#2908       01/03        $535.00                 #2910         01/11           $700.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 45 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                12 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2911       01/11        $700.00                 #2915         01/03           $2,534.46




#2919       01/11        $494.25                 #2920         01/10           $664.00




#2921       01/26        $200.00                 #2922         01/04           $1,063.65




#2923       01/18        $450.00                 #2925         01/07           $400.00




#2927       01/24        $420.00                 #2930         01/06           $2,808.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 46 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                13 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2931       01/03        $2,310.00               #2933         01/04           $396.02




#2935       01/04        $3,478.56               #2936         01/04           $6,256.10




#2937       01/04        $1,000.00               #2938         01/03           $1,281.17




#2939       01/05        $1,200.00               #2940         01/03           $1,106.24




#2941       01/04        $150.00                 #2942         01/24           $955.92
        21-22108-shl   Doc 421   Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                             Pg 47 of 67

                                                        STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                        Page:                                14 of 28
                                                        Statement Period:    Jan 01 2022-Jan 31 2022
                                                        Cust Ref #:            4380021596-719-E-***
                                                        Primary Account #:              438-0021596




#2943       01/07        $4,697.96             #2944         01/13           $5,087.00




#2945       01/06        $2,966.17             #2946         01/03           $871.00




#2947       01/05        $3,425.00             #2948         01/03           $8,000.00




#2950       01/05        $2,731.17             #2951         01/13           $1,125.00




#2952       01/05        $1,099.00             #2953         01/13           $888.50
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 48 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                15 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2954       01/05        $1,074.98               #2955         01/20           $547.55




#2956       01/13        $1,825.00               #2958         01/05           $2,525.23




#2959       01/03        $3,167.19               #2960         01/18           $1,383.28




#2961       01/11        $4,427.85               #2962         01/10           $904.68




#2963       01/31        $598.43                 #2964         01/05           $36.40
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 49 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                16 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2965       01/06        $1,800.00               #2966         01/03           $5,000.00




#2968       01/26        $1,004.23               #2969         01/04           $646.72




#2970       01/05        $272.92                 #2971         01/04           $353.84




#2972       01/05        $350.00                 #2974         01/11           $1,937.98




#2975       01/10        $548.80                 #2976         01/11           $2,170.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 50 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                17 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2977       01/11        $2,170.00               #2978         01/24           $450.00




#2979       01/07        $400.00                 #2980         01/13           $500.00




#2981       01/25        $520.00                 #2982         01/05           $400.00




#2983       01/12        $1,610.37
                                                 #2984         01/03           $3,000.00




#2985       01/07        $2,477.86               #2986         01/11           $1,500.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 51 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                18 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#2987       01/19        $3,033.37               #2988         01/18           $3,872.92




#2990       01/18        $771.66                 #2992         01/21           $4,331.23




#2993       01/20        $1,040.00               #2994         01/20           $927.52




#2995       01/18        $1,225.37               #2996         01/25           $764.40




#2998       01/24        $220.00                 #2999         01/19           $709.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 52 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                19 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3000       01/19        $1,430.92               #3001         01/18           $1,443.60




#3002       01/19        $2,981.00               #3003         01/06           $110.00




#3004       01/18        $727.07                 #3005         01/21           $1,449.42




#3006       01/24        $1,047.92               #3007         01/19           $1,274.77




#3008       01/24        $17,045.82              #3009         01/18           $4,000.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 53 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                20 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3010       01/18        $2,361.93               #3011         01/19           $2,361.69




#3012       01/19        $2,969.20               #3014         01/18           $2,700.00




#3015       01/21        $484.49                 #3016         01/18           $4,658.77




#3018       01/19        $903.23                 #3019         01/26           $698.81




#3020       01/31        $841.00                 #3021         01/20           $3,133.85
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 54 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                21 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3022       01/10        $770.00                 #3023         01/07           $900.00




#3025       01/10        $251.24                 #3026         01/10           $5,000.00




#3027       01/10        $328.06                 #3028         01/12           $400.00




#3029       01/25        $520.00                 #3030         01/28           $624.00




#3031       01/11        $1,158.00               #3032         01/18           $450.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 55 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                22 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3033       01/07        $400.00                 #3034         01/18           $500.00




#3035       01/10        $1,450.00               #3036         01/25           $400.00




#3037       01/28        $400.00                 #3040         01/19           $2,589.71




#3042       01/18        $1,913.63               #3043         01/18           $3,922.78




#3045       01/21        $3,223.46               #3046         01/20           $1,265.07
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 56 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                23 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3047       01/19        $719.65                 #3048         01/18           $1,675.00




#3049       01/19        $672.20                 #3052         01/28           $544.38




#3053       01/19        $2,000.00               #3054         01/21           $55.00




#3055       01/18        $2,000.00               #3056         01/19           $3,140.24




#3057       01/18        $4,158.75               #3058         01/14           $953.00
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 57 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                24 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3059       01/18        $2,500.00               #3060         01/19           $1,500.00




#3062       01/20        $1,212.21               #3063         01/28           $578.40




#3064       01/18        $766.49                 #3065         01/18           $500.00




#3066       01/25        $520.00                 #3068         01/24           $550.00




#3069       01/18        $450.00                 #3072         01/28           $3,312.09
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 58 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                25 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3073       01/27        $530.74                 #3074         01/31           $2,336.69




#3075       01/26        $1,559.73               #3078         01/31           $1,623.14




#3080       01/27        $2,344.19               #3084         01/27           $2,579.78




#3085       01/24        $2,099.03               #3086         01/26           $2,000.00




#3091       01/21        $420.00                 #3092         01/24           $4,295.92
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 59 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                26 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3094       01/24        $1,141.11               #3095         01/25           $520.00




#3096       01/24        $450.00                 #3100         01/21           $1,029.13




#3103       01/31        $979.88                 #3104         01/25           $276.99




#3108       01/31        $1,185.39               #3112         01/31           $1,546.04




#3123       01/31        $2,034.66               #3124         01/31           $1,176.94
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42       Main Document
                                               Pg 60 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                27 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3125       01/31        $450.00                 #3129         01/31           $2,000.00




#3136       01/31        $2,425.19               #3140         01/31           $2,175.00




#3143       01/31        $700.00                 #3144         01/31           $450.00




#3146       01/31        $1,034.63               #3150         01/31           $3,615.98




#3151       01/31        $4,643.14               #3156         01/31           $3,149.52
        21-22108-shl   Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                               Pg 61 of 67

                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                          Page:                                28 of 28
                                                          Statement Period:    Jan 01 2022-Jan 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3167       01/31        $247.10
 21-22108-shl         Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                              Pg 62 of 67

                                                    E    STATEMENT OF ACCOUNT



   THE WILLIAMSBURG HOTEL BK LLC                         Page:                                  1 of 3
   PAYROLL ACCOUNT                                       Statement Period:    Jan 01 2022-Jan 31 2022
   96 WYTHE AVE                                          Cust Ref #:            4380021603-719-E-***
   BROOKLYN NY 11249                                     Primary Account #:              438-0021603




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                        Account # 438-0021603
PAYROLL ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                     6,336.49                 Average Collected Balance           23,364.35
Electronic Deposits                 736,314.81                 Interest Earned This Period              0.00
                                                               Interest Paid Year-to-Date               0.00
Electronic Payments                 735,910.97                 Annual Percentage Yield Earned         0.00%
Service Charges                          30.00                 Days in Period                             31
Ending Balance                        6,710.33




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                         AMOUNT
01/03            CCD DEPOSIT, PAYCHEX - RCX PAYROLL 95397200007737X                                   504.94
01/03            CCD DEPOSIT, PAYCHEX - RCX PAYROLL 95397200007735X                                   501.35
01/03            CCD DEPOSIT, PAYCHEX - RCX PAYROLL 95397200007736X                                   480.09
01/03            CCD DEPOSIT, PAYCHEX - RCX PAYROLL 95397200007734X                                   248.33
01/06            eTransfer Credit, Online Xfer                                                    186,345.09
                      Transfer from CK 4384910935
01/14            eTransfer Credit, Online Xfer                                                    170,538.27
                      Transfer from CK 4384910935
01/20            eTransfer Credit, Online Xfer                                                    173,001.22
                      Transfer from CK 4384910935
01/25            eTransfer Credit, Online Xfer                                                      1,989.83
                      Transfer from CK 4384910935
01/26            eTransfer Credit, Online Xfer                                                     18,100.00
                      Transfer from CK 4384910935
01/27            eTransfer Credit, Online Xfer                                                    182,708.80
                      Transfer from CK 4384910935
01/31            CCD DEPOSIT, PAYCHEX-RCX PAYROLL 95755300007284X                                        573.47
01/31            CCD DEPOSIT, PAYCHEX-RCX PAYROLL 95755300007276X                                        509.57
01/31            CCD DEPOSIT, PAYCHEX-RCX PAYROLL 95755300007283X                                        427.24
01/31            CCD DEPOSIT, PAYCHEX-RCX PAYROLL 95755300007277X                                        386.61
                                                                              Subtotal:           736,314.81
Electronic Payments
POSTING DATE     DESCRIPTION                                                                         AMOUNT
01/03            CCD DEBIT, PAYCHEX EIB INVOICE X95516500023887                                       906.92
01/03            CCD DEBIT, PAYCHEX CGS GARNISH COL0101726581                                         192.75
01/07            CCD DEBIT, PAYCHEX-RCX PAYROLL 95604400001219X                                   129,963.55
01/07            CCD DEBIT, PAYCHEX TPS TAXES 95604900003279X                                      55,110.79


Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    21-22108-shl                   Doc 421                Filed 02/28/22 Entered 02/28/22 21:12:42                                                  Main Document
                                                                      Pg 63 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           6,710.33
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 21-22108-shl      Doc 421      Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                            Pg 64 of 67

                                                       STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
   PAYROLL ACCOUNT                                     Page:                                  3 of 3
                                                       Statement Period:    Jan 01 2022-Jan 31 2022
                                                       Cust Ref #:            4380021603-719-E-***
                                                       Primary Account #:              438-0021603




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE      DESCRIPTION                                                                      AMOUNT
01/07             CCD DEBIT, PAYCHEX CGS GARNISH COL0101775085                                      270.75
01/10             CCD DEBIT, PAYCHEX EIB INVOICE X95605500005774                                  3,602.17
01/14             CCD DEBIT, PAYCHEX-RCX PAYROLL 95699900001347X                                118,709.45
01/14             CCD DEBIT, PAYCHEX TPS TAXES 95700400003578X                                   50,594.97
01/14             CCD DEBIT, PAYCHEX-HRS HRS PMT 39022154                                           387.84
01/14             CCD DEBIT, PAYCHEX CGS GARNISH COL0101884755                                      233.85
01/18             CCD DEBIT, PAYCHEX EIB INVOICE X95703800009987                                    828.61
01/20             CCD DEBIT, PAYCHEX-OAB INVOICE 95724300028611X                                  1,601.99
01/20             CCD DEBIT, PAYCHEX TPS TAXES 95752300031552X                                        0.48
01/21             CCD DEBIT, PAYCHEX - RCX PAYROLL 95783000000101X                              120,356.96
01/21             CCD DEBIT, PAYCHEX TPS TAXES 95777900004337X                                   51,451.51
01/21             CCD DEBIT, PAYCHEX CGS GARNISH COL0101996097                                      192.75
01/24             CCD DEBIT, PAYCHEX EIB INVOICE X95784300016175                                    825.31
01/27             CCD DEBIT, IRS USATAXPYMT 270242750631582                                      18,100.00
01/28             CCD DEBIT, PAYCHEX PAYROLL 95874900001902X                                    127,642.67
01/28             CCD DEBIT, PAYCHEX TPS TAXES 95872200001900X                                   53,873.38
01/28             CCD DEBIT, PAYCHEX CGS GARNISH COL0102106868                                      192.75
01/31             CCD DEBIT, PAYCHEX EIB INVOICE X95876000019619                                    871.52
                                                                            Subtotal:           735,910.97
Service Charges
POSTING DATE      DESCRIPTION                                                                      AMOUNT
01/31             MAINTENANCE FEE                                                                      30.00
                                                                            Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                               BALANCE                   DATE                                 BALANCE
12/31                              6,336.49                  01/21                               3,550.44
01/03                              6,971.53                  01/24                               2,725.13
01/06                            193,316.62                  01/25                               4,714.96
01/07                              7,971.53                  01/26                              22,814.96
01/10                              4,369.36                  01/27                             187,423.76
01/14                              4,981.52                  01/28                               5,714.96
01/18                              4,152.91                  01/31                               6,710.33
01/20                            175,551.66




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
21-22108-shl   Doc 421   Filed 02/28/22 Entered 02/28/22 21:12:42   Main Document
                                     Pg 65 of 67
 21-22108-shl         Doc 421     Filed 02/28/22 Entered 02/28/22 21:12:42      Main Document
                                              Pg 66 of 67

                                                    E    STATEMENT OF ACCOUNT



   THE WILLIAMSBURG HOTEL BK LLC                         Page:                                  1 of 2
   96 WYTHE AVE                                          Statement Period:    Jan 01 2022-Jan 31 2022
   BROOKLYN NY 11249                                     Cust Ref #:            4380021611-717-E-***
                                                         Primary Account #:              438-0021611




TD Business Convenience Plus
THE WILLIAMSBURG HOTEL BK LLC                                                        Account # 438-0021611


ACCOUNT SUMMARY
Beginning Balance                   439,687.57                 Average Collected Balance          464,846.83
Electronic Deposits                 215,946.74                 Interest Earned This Period              0.00
                                                               Interest Paid Year-to-Date               0.00
Electronic Payments                 146,338.00                 Annual Percentage Yield Earned         0.00%
Ending Balance                      509,296.31                 Days in Period                             31




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                         AMOUNT
01/25            eTransfer Credit, Online Xfer                                                    215,946.74
                      Transfer from CK 4384910935

                                                                              Subtotal:           215,946.74
Electronic Payments
POSTING DATE     DESCRIPTION                                                                         AMOUNT
01/27            CCD DEBIT, NYS DTF SALES TAX PAYMNT 000000078313378                              146,338.00
                                                                              Subtotal:           146,338.00


DAILY BALANCE SUMMARY
DATE                                  BALANCE                  DATE                                 BALANCE
12/31                               439,687.57                 01/27                             509,296.31
01/25                               655,634.31




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    21-22108-shl                   Doc 421                Filed 02/28/22 Entered 02/28/22 21:12:42                                                  Main Document
                                                                      Pg 67 of 67
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       509,296.31
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
